                                                                                                                                                      B1 (Official Form 1) (04/13)
                                                                                                                                                                                                  United States Bankruptcy Court                                                                            Voluntary Petition
                                                                                                                                                                                                         District of Kansas
                                                                                                                                                       Name of Debtor (if individual, enter Last, First, Middle):                                      Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                                                                                                        Engen, Mark H.                                                                                   Engen, Maureen E.
                                                                                                                                                       All Other Names used by the Debtor in the last 8 years                                          All Other Names used by the Joint Debtor in the last 8 years
                                                                                                                                                       (include married, maiden, and trade names):                                                     (include married, maiden, and trade names):
                                                                                                                                                        None                                                                                             None

                                                                                                                                                      Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
                                                                                                                                                      (if more than one, state all): 2387                                               (if more than one, state all):    4794
                                                                                                                                                       Street Address of Debtor (No. and Street, City, and State)                                      Street Address of Joint Debtor (No. and Street, City, and State
                                                                                                                                                        7905 W. 96th Street                                                                              7905 W. 96th Street
                                                                                                                                                        Overland Park, KS                                                                                Overland Park, KS                                                      ZIPCODE
                                                                                                                                                                                                                            ZIPCODE
                                                                                                                                                                                                                                 66212                                                                                             66212
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                                                                                                                                                       County of Residence or of the Principal Place of Business:                                      County of Residence or of the Principal Place of Business:

                                                                                                                                                        Johnson                                                                                          Johnson
                                                                                                                                                       Mailing Address of Debtor (if different from street address):                                   Mailing Address of Joint Debtor (if different from street address):



                                                                                                                                                                                                                           ZIPCODE                                                                                              ZIPCODE

                                                                                                                                                       Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                                                                                                                                                                                ZIPCODE

                                                                                                                                                                     Type of Debtor                                         Nature of Business                                       Chapter of Bankruptcy Code Under Which
                                                                                                                                                                 (Form of Organization)                                   (Check one box)                                                 the Petition is Filed (Check one box)
                                                                                                                                                                     (Check one box)                                          Health Care Business                              Chapter 7
                                                                                                                                                           Individual (includes Joint Debtors)                                Single Asset Real Estate as defined in                                       Chapter 15 Petition for
                                                                                                                                                           See Exhibit D on page 2 of this form.                              11 U.S.C. § 101 (51B)                             Chapter 9                  Recognition of a Foreign
                                                                                                                                                           Corporation (includes LLC and LLP)                                 Railroad                                                                     Main Proceeding
                                                                                                                                                           Partnership                                                        Stockbroker                                       Chapter 11
                                                                                                                                                           Other (If debtor is not one of the above entities,                 Commodity Broker                                  Chapter 12                 Chapter 15 Petition for
                                                                                                                                                           check this box and state type of entity below.)                    Clearing Bank                                                                Recognition of a Foreign
                                                                                                                                                                                                                                                                                Chapter 13
                                                                                                                                                                                                                              Other    N.A.                                                                Nonmain Proceeding
                                                                                                                                                                         Chapter 15 Debtors                                           Tax-Exempt Entity                                           Nature of Debts
                                                                                                                                                                                                                                    (Check box, if applicable)                                    (Check one box)
                                                                                                                                                       Country of debtor’s center of main interests:                                                                            Debts are primarily consumer
                                                                                                                                                                                                                                                                                                                        Debts are
                                                                                                                                                                                                                                  Debtor is a tax-exempt organization           debts, defined in 11 U.S.C.
                                                                                                                                                                                                                                                                                                                        primarily
                                                                                                                                                       Each country in which a foreign proceeding by,                             under Title 26 of the United States           §101(8)  as "incurred by an
                                                                                                                                                                                                                                                                                                                        business debts.
                                                                                                                                                       regarding, or against debtor is pending:                                   Code (the Internal Revenue Code)              individual primarily for a
                                                                                                                                                                                                                                                                                personal, family, or
                                                                                                                                                                                                                                                                                household purpose."
                                                                                                                                                                                   Filing Fee (Check one box)                                                                           Chapter 11 Debtors
                                                                                                                                                                                                                                                               Check one box:
                                                                                                                                                              Full Filing Fee attached                                                                                Debtor is a small business as defined in 11 U.S.C. § 101(51D)
                                                                                                                                                                                                                                                                      Debtor is not a small business as defined in 11 U.S.C. § 101(51D)
                                                                                                                                                              Filing Fee to be paid in installments (applicable to individuals only) Must attach                 Check if:
                                                                                                                                                              signed application for the court's consideration certifying that the debtor is unable                  Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                                                                              to pay fee except in installments. Rule 1006(b). See Official Form 3A.                                 insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
                                                                                                                                                                                                                                                                     on 4/01/16 and every three years thereafter).
                                                                                                                                                                                                                                                                 Check all applicable boxes
                                                                                                                                                              Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
                                                                                                                                                                                                                                                                     A plan is being filed with this petition.
                                                                                                                                                              attach signed application for the court’s consideration. See Official Form 3B.
                                                                                                                                                                                                                                                                     Acceptances of the plan were solicited prepetition from one or more
                                                                                                                                                                                                                                                                     classes of creditors, in accordance with 11 U.S.C. § 1126(b).
                                                                                                                                                        Statistical/Administrative Information                                                                                                                                  THIS SPACE IS FOR
                                                                                                                                                                                                                                                                                                                                COURT USE ONLY
                                                                                                                                                          Debtor estimates that funds will be available for distribution to unsecured creditors.
                                                                                                                                                          Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
                                                                                                                                                          distribution to unsecured creditors.
                                                                                                                                                      Estimated Number of Creditors

                                                                                                                                                       1-49           50-99           100-199           200-999         1,000-           5,001-           10,001-            25,001-         50,001-          Over
                                                                                                                                                                                                                        5,000            10,000           25,000             50,000          100,000          100,000
                                                                                                                                                      Estimated Assets

                                                                                                                                                      $0 to          $50,001 to      $100,001 to       $500,001      $1,000,001       $10,000,001      $50,000,001        $100,000,001     $500,000,001      More than
                                                                                                                                                      $50,000        $100,000        $500,000          to $1         to $10           to $50           to $100            to $500          to $1 billion     $1 billion
                                                                                                                                                                                                       million       million          million          million            million
                                                                                                                                                      Estimated Liabilities

                                                                                                                                                      $0 to          $50,001 to      $100,001 to        $500,001     $1,000,001       $10,000,001      $50,000,001        $100,000,001     $500,000,001      More than
                                                                                                                                                      $50,000        $100,000        $500,000           to $1        to $10           to $50           to $100            to $500          to $1 billion     $1 billion
                                                                                                                                                                                                        million      million          million          million            million
                                                                                                                                                                                                Case 15-20184                    Doc# 1             Filed 02/04/15                     Page 1 of 62
                                                                                                                                                      B1 (Official Form 1) (04/13)                                                                                                                                               Page 2
                                                                                                                                                      Voluntary Petition                                                                           Name of Debtor(s):
                                                                                                                                                       (This page must be completed and filed in every case)                                       Mark H. Engen & Maureen E. Engen
                                                                                                                                                                               All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
                                                                                                                                                       Location                                                                             Case Number:                                       Date Filed:
                                                                                                                                                       Where Filed:          NONE

                                                                                                                                                       Location                                                                             Case Number:                                       Date Filed:
                                                                                                                                                       Where Filed:
                                                                                                                                                                             N.A.
                                                                                                                                                                 Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                                                                                                       Name of Debtor: NONE                                                    Case Number:                                   Date Filed:


                                                                                                                                                       District:                                                                             Relationship:                                     Judge:


                                                                                                                                                                                      Exhibit A                                                                                      Exhibit B
                                                                                                                                                                                                                                                                      (To be completed if debtor is an individual
                                                                                                                                                      (To be completed if debtor is required to file periodic reports (e.g., forms                                    whose debts are primarily consumer debts)
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                                                                                                                                                      10K and 10Q) with the Securities and Exchange Commission pursuant to
                                                                                                                                                      Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting             I, the attorney for the petitioner named in the foregoing petition, declare that I
                                                                                                                                                      relief under chapter 11)                                                                 have informed the petitioner that [he or she] may proceed under chapter 7, 11,
                                                                                                                                                                                                                                               12, or 13 of title 11, United States Code, and have explained the relief
                                                                                                                                                                                                                                               available under each such chapter. I further certify that I delivered to the
                                                                                                                                                                                                                                               debtor the notice required by 11 U.S.C. § 342(b).

                                                                                                                                                               Exhibit A is attached and made a part of this petition.                         X        /s/ Teresa Kidd                                      1/24/2015
                                                                                                                                                                                                                                                    Signature of Attorney for Debtor(s)                         Date


                                                                                                                                                                                                                                    Exhibit C
                                                                                                                                                      Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

                                                                                                                                                               Yes, and Exhibit C is attached and made a part of this petition.

                                                                                                                                                               No.


                                                                                                                                                                                                                                     Exhibit D
                                                                                                                                                        (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
                                                                                                                                                                   Exhibit D completed and signed by the debtor is attached and made a part of this petition.
                                                                                                                                                       If this is a joint petition:
                                                                                                                                                                   Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.


                                                                                                                                                                                                                  Information Regarding the Debtor - Venue
                                                                                                                                                                                                                               (Check any applicable box)
                                                                                                                                                                               Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                                                                                                                                                                               preceding the date of this petition or for a longer part of such 180 days than in any other District.

                                                                                                                                                                               There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.


                                                                                                                                                                               Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United Sates in this District, or
                                                                                                                                                                               has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in federal or state court] in
                                                                                                                                                                               this District, or the interests of the parties will be served in regard to the relief sought in this District.


                                                                                                                                                                                         Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                                                                                                                                                                (Check all applicable boxes)
                                                                                                                                                                               Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                                                                                                                                               (Name of landlord that obtained judgment)


                                                                                                                                                                                                                                (Address of landlord)
                                                                                                                                                                               Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                                                                                                                                                                               entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                                                                                                                                                                               Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the
                                                                                                                                                                               filing of the petition.
                                                                                                                                                                               Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(1)).


                                                                                                                                                                                             Case 15-20184                  Doc# 1           Filed 02/04/15                Page 2 of 62
                                                                                                                                                      B1 (Official Form 1) (04/13)                                                                                                                                                     Page 3
                                                                                                                                                      Voluntary Petition                                                                     Name of Debtor(s):
                                                                                                                                                      (This page must be completed and filed in every case)                                 Mark H. Engen & Maureen E. Engen
                                                                                                                                                                                                                                     Signatures
                                                                                                                                                                  Signature(s) of Debtor(s) (Individual/Joint)                                                 Signature of a Foreign Representative
                                                                                                                                                        I declare under penalty of perjury that the information provided in this petition
                                                                                                                                                        is true and correct.
                                                                                                                                                        [If petitioner is an individual whose debts are primarily consumer debts and          I declare under penalty of perjury that the information provided in this petition
                                                                                                                                                        has chosen to file under chapter 7] I am aware that I may proceed under               is true and correct, that I am the foreign representative of a debtor in a foreign
                                                                                                                                                        chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief       proceeding, and that I am authorized to file this petition.
                                                                                                                                                        available under each such chapter, and choose to proceed under chapter 7.
                                                                                                                                                        [If no attorney represents me and no bankruptcy petition preparer signs the           (Check only one box.)
                                                                                                                                                        petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                                                                                                                                                                         I request relief in accordance with chapter 15 of title 11, United States Code.
                                                                                                                                                        I request relief in accordance with the chapter of title 11, United States                       Certified copies of the documents required by 11 U.S.C. § 1515 of title 11 are
                                                                                                                                                        Code, specified in this petition.                                                                attached.
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                                                                                                                                                                                                                                                         Pursuant to 11 U.S.C.§ 1511, I request relief in accordance with the chapter of
                                                                                                                                                                                                                                                         title 11 specified in this petition.  A certified copy of the order granting
                                                                                                                                                                                                                                                         recognition of the foreign main proceeding is attached.
                                                                                                                                                        X /s/ Mark H. Engen
                                                                                                                                                            Signature of Debtor                                                                X
                                                                                                                                                                                                                                                    (Signature of Foreign Representative)
                                                                                                                                                        X /s/ Maureen E. Engen
                                                                                                                                                           Signature of Joint Debtor

                                                                                                                                                                                                                                                     (Printed Name of Foreign Representative)
                                                                                                                                                            Telephone Number (If not represented by attorney)

                                                                                                                                                             1/24/2015
                                                                                                                                                                                                                                                      (Date)
                                                                                                                                                             Date

                                                                                                                                                                             Signature of Attorney*                                                      Signature of Non-Attorney Petition Preparer
                                                                                                                                                       X      /s/ Teresa Kidd
                                                                                                                                                            Signature of Attorney for Debtor(s)                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer
                                                                                                                                                                                                                                              as defined in 11 U.S.C. § 110, (2) I prepared this document for compensation,
                                                                                                                                                           TERESA KIDD 12166                                                                  and have provided the debtor with a copy of this document and the notices and
                                                                                                                                                            Printed Name of Attorney for Debtor(s)
                                                                                                                                                                                                                                              information required under 11 U.S.C. § 110(b), 110(h), and 342(b); and, (3) if
                                                                                                                                                                                                                                              rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h)
                                                                                                                                                                                                                                              setting a maximum fee for services chargeable by bankruptcy petition
                                                                                                                                                            Firm Name                                                                         preparers, I have given the debtor notice of the maximum amount before any
                                                                                                                                                           8700 Monrovia, Suite 310                                                           document for filing for a debtor or accepting any fee from the debtor, as
                                                                                                                                                            Address                                                                           required in that section. Official Form 19 is attached.

                                                                                                                                                           Lenexa, KS 66215
                                                                                                                                                                                                                                              Printed Name and title, if any, of Bankruptcy Petition Preparer
                                                                                                                                                           913-422-0610 tkidd@kc.rr.com
                                                                                                                                                           Telephone Number                                  e-mail
                                                                                                                                                                                                                                               Social Security Number (If the bankruptcy petition preparer is not an individual,
                                                                                                                                                           1/24/2015                                                                           state the Social Security number of the officer, principal, responsible person or
                                                                                                                                                          Date                                                                                 partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
                                                                                                                                                       *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
                                                                                                                                                       certification that the attorney has no knowledge after an inquiry that the
                                                                                                                                                       information in the schedules is incorrect.                                              Address

                                                                                                                                                              Signature of Debtor (Corporation/Partnership)
                                                                                                                                                         I declare under penalty of perjury that the information provided in this petition
                                                                                                                                                         is true and correct, and that I have been authorized to file this petition on        X
                                                                                                                                                         behalf of the debtor.

                                                                                                                                                         The debtor requests relief in accordance with the chapter of title 11,                   Date
                                                                                                                                                         United States Code, specified in this petition.
                                                                                                                                                                                                                                                  Signature of bankruptcy petition preparer or officer, principal, responsible
                                                                                                                                                                                                                                                  person, or partner whose Social Security number is provided above.
                                                                                                                                                       X
                                                                                                                                                           Signature of Authorized Individual                                                     Names and Social Security numbers of all other individuals who prepared or
                                                                                                                                                                                                                                                  assisted in preparing this document unless the bankruptcy petition preparer is
                                                                                                                                                                                                                                                  not an individual:
                                                                                                                                                            Printed Name of Authorized Individual
                                                                                                                                                                                                                                                  If more than one person prepared this document, attach additional sheets
                                                                                                                                                                                                                                                  conforming to the appropriate official form for each person.
                                                                                                                                                            Title of Authorized Individual
                                                                                                                                                                                                                                                  A bankruptcy petition preparer’s failure to comply with the provisions of title 11
                                                                                                                                                                                                                                                  and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                                                                                           Date
                                                                                                                                                                                                                                                  imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.

                                                                                                                                                                                          Case 15-20184                  Doc# 1             Filed 02/04/15                 Page 3 of 62
                                                                                                                                                      B1 D (Official Form 1, Exhibit D ) (12/09)


                                                                                                                                                                                          UNITED STATES BANKRUPTCY COURT
                                                                                                                                                                                                     District of Kansas




                                                                                                                                                            Mark H. Engen & Maureen E. Engen
                                                                                                                                                      In re______________________________________                            Case No._____________
                                                                                                                                                                     Debtor(s)                                                     (if known)
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                                                                                                                                                                 EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                                                                                                                                                                 CREDIT COUNSELING REQUIREMENT

                                                                                                                                                              Warning: You must be able to check truthfully one of the five statements regarding
                                                                                                                                                      credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
                                                                                                                                                      case, and the court can dismiss any case you do file. If that happens, you will lose whatever
                                                                                                                                                      filing fee you paid, and your creditors will be able to resume collection activities against
                                                                                                                                                      you. If your case is dismissed and you file another bankruptcy case later, you may be
                                                                                                                                                      required to pay a second filing fee and you may have to take extra steps to stop creditors'
                                                                                                                                                      collection activities.

                                                                                                                                                             Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
                                                                                                                                                      must complete and file a separate Exhibit D. Check one of the five statements below and attach
                                                                                                                                                      any documents as directed.

                                                                                                                                                             1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                                                                                      from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                                                                                      administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                                                                                      performing a related budget analysis, and I have a certificate from the agency describing the
                                                                                                                                                      services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
                                                                                                                                                      developed through the agency.

                                                                                                                                                              2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                                                                                      from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                                                                                      administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                                                                                      performing a related budget analysis, but I do not have a certificate from the agency describing
                                                                                                                                                      the services provided to me. You must file a copy of a certificate from the agency describing the
                                                                                                                                                      services provided to you and a copy of any debt repayment plan developed through the agency
                                                                                                                                                      no later than 14 days after your bankruptcy case is filed.




                                                                                                                                                                                   Case 15-20184   Doc# 1   Filed 02/04/15    Page 4 of 62
                                                                                                                                                      B1 D (Official Form 1, Exh. D) (12/09) – Cont.                                            Page 2


                                                                                                                                                              3. I certify that I requested credit counseling services from an approved agency but
                                                                                                                                                      was unable to obtain the services during the seven days from the time I made my request, and the
                                                                                                                                                      following exigent circumstances merit a temporary waiver of the credit counseling requirement
                                                                                                                                                      so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




                                                                                                                                                             If your certification is satisfactory to the court, you must still obtain the credit
                                                                                                                                                      counseling briefing within the first 30 days after you file your bankruptcy petition and
                                                                                                                                                      promptly file a certificate from the agency that provided the counseling, together with a
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                                                                                                                                                      copy of any debt management plan developed through the agency. Failure to fulfill these
                                                                                                                                                      requirements may result in dismissal of your case. Any extension of the 30-day deadline
                                                                                                                                                      can be granted only for cause and is limited to a maximum of 15 days. Your case may also
                                                                                                                                                      be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
                                                                                                                                                      without first receiving a credit counseling briefing.

                                                                                                                                                             4. I am not required to receive a credit counseling briefing because of: [Check the
                                                                                                                                                      applicable statement.] [Must be accompanied by a motion for determination by the court.]
                                                                                                                                                                     Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
                                                                                                                                                             illness or mental deficiency so as to be incapable of realizing and making rational
                                                                                                                                                             decisions with respect to financial responsibilities.);
                                                                                                                                                                     Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the
                                                                                                                                                             extent of being unable, after reasonable effort, to participate in a credit counseling
                                                                                                                                                             briefing in person, by telephone, or through the Internet.);
                                                                                                                                                                     Active military duty in a military combat zone.

                                                                                                                                                             5. The United States trustee or bankruptcy administrator has determined that the credit
                                                                                                                                                      counseling requirement of 11 U.S.C. § 109(h) does not apply in this district.

                                                                                                                                                             I certify under penalty of perjury that the information provided above is true and
                                                                                                                                                      correct.


                                                                                                                                                                               Signature of Debtor:               /s/ Mark H. Engen
                                                                                                                                                                                                                 MARK H. ENGEN

                                                                                                                                                                                                              1/24/2015
                                                                                                                                                                                                       Date: _________________




                                                                                                                                                                               Case 15-20184           Doc# 1   Filed 02/04/15   Page 5 of 62
                                                                                                                                                      B1 D (Official Form 1, Exhibit D ) (12/09)


                                                                                                                                                                                          UNITED STATES BANKRUPTCY COURT
                                                                                                                                                                                                     District of Kansas




                                                                                                                                                            Mark H. Engen & Maureen E. Engen
                                                                                                                                                      In re______________________________________                            Case No._____________
                                                                                                                                                                     Debtor(s)                                                     (if known)
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                                                                                                                                                                 EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                                                                                                                                                                 CREDIT COUNSELING REQUIREMENT

                                                                                                                                                              Warning: You must be able to check truthfully one of the five statements regarding
                                                                                                                                                      credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
                                                                                                                                                      case, and the court can dismiss any case you do file. If that happens, you will lose whatever
                                                                                                                                                      filing fee you paid, and your creditors will be able to resume collection activities against
                                                                                                                                                      you. If your case is dismissed and you file another bankruptcy case later, you may be
                                                                                                                                                      required to pay a second filing fee and you may have to take extra steps to stop creditors'
                                                                                                                                                      collection activities.

                                                                                                                                                             Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
                                                                                                                                                      must complete and file a separate Exhibit D. Check one of the five statements below and attach
                                                                                                                                                      any documents as directed.

                                                                                                                                                             1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                                                                                      from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                                                                                      administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                                                                                      performing a related budget analysis, and I have a certificate from the agency describing the
                                                                                                                                                      services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
                                                                                                                                                      developed through the agency.

                                                                                                                                                              2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                                                                                      from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                                                                                      administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                                                                                      performing a related budget analysis, but I do not have a certificate from the agency describing
                                                                                                                                                      the services provided to me. You must file a copy of a certificate from the agency describing the
                                                                                                                                                      services provided to you and a copy of any debt repayment plan developed through the agency
                                                                                                                                                      no later than 14 days after your bankruptcy case is filed.




                                                                                                                                                                                   Case 15-20184   Doc# 1   Filed 02/04/15    Page 6 of 62
                                                                                                                                                      B1 D (Official Form 1, Exh. D) (12/09) – Cont.                                              Page 2


                                                                                                                                                              3. I certify that I requested credit counseling services from an approved agency but
                                                                                                                                                      was unable to obtain the services during the seven days from the time I made my request, and the
                                                                                                                                                      following exigent circumstances merit a temporary waiver of the credit counseling requirement
                                                                                                                                                      so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




                                                                                                                                                             If your certification is satisfactory to the court, you must still obtain the credit
                                                                                                                                                      counseling briefing within the first 30 days after you file your bankruptcy petition and
                                                                                                                                                      promptly file a certificate from the agency that provided the counseling, together with a
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                                                                                                                                                      copy of any debt management plan developed through the agency. Failure to fulfill these
                                                                                                                                                      requirements may result in dismissal of your case. Any extension of the 30-day deadline
                                                                                                                                                      can be granted only for cause and is limited to a maximum of 15 days. Your case may also
                                                                                                                                                      be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
                                                                                                                                                      without first receiving a credit counseling briefing.

                                                                                                                                                             4. I am not required to receive a credit counseling briefing because of: [Check the
                                                                                                                                                      applicable statement.] [Must be accompanied by a motion for determination by the court.]
                                                                                                                                                                     Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
                                                                                                                                                             illness or mental deficiency so as to be incapable of realizing and making rational
                                                                                                                                                             decisions with respect to financial responsibilities.);
                                                                                                                                                                     Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the
                                                                                                                                                             extent of being unable, after reasonable effort, to participate in a credit counseling
                                                                                                                                                             briefing in person, by telephone, or through the Internet.);
                                                                                                                                                                     Active military duty in a military combat zone.

                                                                                                                                                             5. The United States trustee or bankruptcy administrator has determined that the credit
                                                                                                                                                      counseling requirement of 11 U.S.C. § 109(h) does not apply in this district.

                                                                                                                                                             I certify under penalty of perjury that the information provided above is true and
                                                                                                                                                      correct.



                                                                                                                                                                                Signature of Joint Debtor:          /s/ Maureen E. Engen
                                                                                                                                                                                                                   MAUREEN E. ENGEN

                                                                                                                                                                                                                1/24/2015
                                                                                                                                                                                                       Date: _________________




                                                                                                                                                                                  Case 15-20184          Doc# 1   Filed 02/04/15   Page 7 of 62
                                                                                                                                                      B6 Cover (Form 6 Cover) (12/07)



                                                                                                                                                      FORM 6. SCHEDULES

                                                                                                                                                      Summary of Schedules
                                                                                                                                                      Statistical Summary of Certain Liabilities and Related Data (28 U.S.C. § 159)
                                                                                                                                                      Schedule A - Real Property
                                                                                                                                                      Schedule B - Personal Property
                                                                                                                                                      Schedule C - Property Claimed as Exempt
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                                                                                                                                                      Schedule D - Creditors Holding Secured Claims
                                                                                                                                                      Schedule E - Creditors Holding Unsecured Priority Claims
                                                                                                                                                      Schedule F - Creditors Holding Unsecured Nonpriority Claims
                                                                                                                                                      Schedule G - Executory Contracts and Unexpired Leases
                                                                                                                                                      Schedule H - Codebtors
                                                                                                                                                      Schedule I - Current Income of Individual Debtor(s)
                                                                                                                                                      Schedule J - Current Expenditures of Individual Debtor(s)

                                                                                                                                                      Unsworn Declaration under Penalty of Perjury


                                                                                                                                                      GENERAL INSTRUCTIONS: The first page of the debtor’s schedules and the first page of any
                                                                                                                                                      amendments thereto must contain a caption as in Form 16B. Subsequent pages should be
                                                                                                                                                      identified with the debtor’s name and case number. If the schedules are filed with the petition,
                                                                                                                                                      the case number should be left blank

                                                                                                                                                      Schedules D, E, and F have been designed for the listing of each claim only once. Even when a
                                                                                                                                                      claim is secured only in part or entitled to priority only in part, it still should be listed only once.
                                                                                                                                                      A claim which is secured in whole or it part should be listed on Schedule D only, and a claim
                                                                                                                                                      which is entitled to priority in whole or in part should be listed on Schedule E only. Do not list
                                                                                                                                                      the same claim twice. If a creditor has more than one claim, such as claims arising from separate
                                                                                                                                                      transactions, each claim should be scheduled separately.

                                                                                                                                                      Review the specific instructions for each schedule before completing the schedule.




                                                                                                                                                                         Case 15-20184        Doc# 1      Filed 02/04/15      Page 8 of 62
                                                                                                                                                      B6A (Official Form 6A) (12/07)


                                                                                                                                                      In re    Mark H. Engen & Maureen E. Engen                                                      Case No.
                                                                                                                                                                                 Debtor                                                                                                 (If known)

                                                                                                                                                                                                      SCHEDULE A - REAL PROPERTY
                                                                                                                                                         Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-
                                                                                                                                                      tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
                                                                                                                                                      the debtor’s own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an “H,”
                                                                                                                                                      “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write “None” under
                                                                                                                                                      “Description and Location of Property.”

                                                                                                                                                        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
                                                                                                                                                      Unexpired Leases.

                                                                                                                                                          If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
                                                                                                                                                      claims to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”
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                                                                                                                                                         If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C –
                                                                                                                                                      Property Claimed as Exempt.




                                                                                                                                                                                                                                                         HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                           OR COMMUNITY
                                                                                                                                                                                                                                                                                  CURRENT VALUE
                                                                                                                                                                                                                                                                                    OF DEBTOR’S
                                                                                                                                                                    DESCRIPTION AND LOCATION                              NATURE OF DEBTOR’S                                        INTEREST IN      AMOUNT OF
                                                                                                                                                                           OF PROPERTY                                   INTEREST IN PROPERTY                                   PROPERTY, WITHOUT     SECURED
                                                                                                                                                                                                                                                                                  DEDUCTING ANY        CLAIM
                                                                                                                                                                                                                                                                                  SECURED CLAIM
                                                                                                                                                                                                                                                                                   OR EXEMPTION



                                                                                                                                                       single family residence                                       JTWROS                                    J                         165,000     Exceeds Value
                                                                                                                                                       7905 W. 96th St.
                                                                                                                                                       Overland Park, KS 66212-3308




                                                                                                                                                                                                                                                    Total
                                                                                                                                                                                                                                                                                         165,000

                                                                                                                                                                                                                                                    (Report also on Summary of Schedules.)

                                                                                                                                                                                          Case 15-20184              Doc# 1         Filed 02/04/15                          Page 9 of 62
                                                                                                                                                      B6B (Official Form 6B) (12/07)


                                                                                                                                                      In re     Mark H. Engen & Maureen E. Engen                                                   Case No.
                                                                                                                                                                                        Debtor                                                                             (If known)

                                                                                                                                                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                           Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
                                                                                                                                                      place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
                                                                                                                                                      identified with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital
                                                                                                                                                      community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
                                                                                                                                                      individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

                                                                                                                                                          Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
                                                                                                                                                      Unexpired Leases.

                                                                                                                                                            If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.”
                                                                                                                                                      If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
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                                                                                                                                                      "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See. 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                                                                                                                                                                                 HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                                                                        CURRENT VALUE OF




                                                                                                                                                                                                                                                                                   OR COMMUNITY
                                                                                                                                                                                                                                                                                                        DEBTOR’S INTEREST
                                                                                                                                                                                                               N                                                                                           IN PROPERTY,
                                                                                                                                                                  TYPE OF PROPERTY                             O                  DESCRIPTION AND LOCATION                                                   WITHOUT
                                                                                                                                                                                                               N                        OF PROPERTY                                                      DEDUCTING ANY
                                                                                                                                                                                                               E                                                                                         SECURED CLAIM
                                                                                                                                                                                                                                                                                                          OR EXEMPTION


                                                                                                                                                        1. Cash on hand.                                       X
                                                                                                                                                        2. Checking, savings or other financial accounts,          checking account                                                    J                           100
                                                                                                                                                        certificates of deposit, or shares in banks, savings
                                                                                                                                                        and loan, thrift, building and loan, and homestead         Capitol Federal Savings
                                                                                                                                                        associations, or credit unions, brokerage houses,
                                                                                                                                                        or cooperatives.


                                                                                                                                                        3. Security deposits with public utilities,            X
                                                                                                                                                        telephone companies, landlords, and others.

                                                                                                                                                        4. Household goods and furnishings, including              misc household furnishings                                          J                          2,200
                                                                                                                                                        audio, video, and computer equipment.
                                                                                                                                                                                                                   Residence

                                                                                                                                                        5. Books. Pictures and other art objects,              X
                                                                                                                                                        antiques, stamp, coin, record, tape, compact disc,
                                                                                                                                                        and other collections or collectibles.

                                                                                                                                                        6. Wearing apparel.                                        clothing                                                            J                           875
                                                                                                                                                                                                                   Residence

                                                                                                                                                        7. Furs and jewelry.                                       misc jewelry                                                        J                          1,200
                                                                                                                                                                                                                   Residence

                                                                                                                                                        8. Firearms and sports, photographic, and other        X
                                                                                                                                                        hobby equipment.

                                                                                                                                                        9. Interests in insurance policies. Name               X
                                                                                                                                                        insurance company of each policy and itemize
                                                                                                                                                        surrender or refund value of each.

                                                                                                                                                        10. Annuities. Itemize and name each issuer.           X




                                                                                                                                                                                                   Case 15-20184           Doc# 1      Filed 02/04/15      Page 10 of 62
                                                                                                                                                      B6B (Official Form 6B) (12/07) -- Cont.


                                                                                                                                                      In re     Mark H. Engen & Maureen E. Engen                                                  Case No.
                                                                                                                                                                                        Debtor                                                                   (If known)

                                                                                                                                                                                                           SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                                                                                          (Continuation Sheet)




                                                                                                                                                                                                                                                                        HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                                                               CURRENT VALUE OF




                                                                                                                                                                                                                                                                          OR COMMUNITY
                                                                                                                                                                                                                                                                                               DEBTOR’S INTEREST
                                                                                                                                                                                                               N                                                                                  IN PROPERTY,
                                                                                                                                                                  TYPE OF PROPERTY                             O                DESCRIPTION AND LOCATION                                            WITHOUT
                                                                                                                                                                                                               N                      OF PROPERTY                                               DEDUCTING ANY
                                                                                                                                                                                                               E                                                                                SECURED CLAIM
                                                                                                                                                                                                                                                                                                 OR EXEMPTION
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                                                                                                                                                        11. Interests in an education IRA as defined in 26     X
                                                                                                                                                        U.S.C. § 530(b)(1) or under a qualified State
                                                                                                                                                        tuition plan as defined in 26 U.S.C. § 529(b)(1).
                                                                                                                                                        Give particulars. (File separately the record(s) of
                                                                                                                                                        any such interest(s). 11 U.S.C. § 521(c).)

                                                                                                                                                        12. Interests in IRA, ERISA, Keogh, or other               TIAA-CREF retirement account                               W                          3,302
                                                                                                                                                        pension or profit sharing plans. Give particulars.
                                                                                                                                                                                                                   TIAA-CREF

                                                                                                                                                                                                                   TIAA-CREF retirement account                               H                          2,400
                                                                                                                                                                                                                   TIAA-CREF

                                                                                                                                                        13. Stock and interests in incorporated and            X
                                                                                                                                                        unincorporated businesses. Itemize.

                                                                                                                                                        14. Interests in partnerships or joint ventures.       X
                                                                                                                                                        Itemize.

                                                                                                                                                        15. Government and corporate bonds and other           X
                                                                                                                                                        negotiable and non-negotiable instruments.

                                                                                                                                                        16. Accounts receivable.                               X
                                                                                                                                                        17. Alimony, maintenance, support, and property        X
                                                                                                                                                        settlement to which the debtor is or may be
                                                                                                                                                        entitled. Give particulars.

                                                                                                                                                        18. Other liquidated debts owing debtor including      X
                                                                                                                                                        tax refunds. Give particulars.

                                                                                                                                                        19. Equitable or future interests, life estates, and   X
                                                                                                                                                        rights or powers exercisable for the benefit of the
                                                                                                                                                        debtor other than those listed in Schedule A - Real
                                                                                                                                                        Property.

                                                                                                                                                        20. Contingent and noncontingent interests in          X
                                                                                                                                                        estate or a decedent, death benefit plan, life
                                                                                                                                                        insurance policy, or trust.

                                                                                                                                                        21. Other contingent and unliquidated claims of        X
                                                                                                                                                        every nature, including tax refunds, counterclaims
                                                                                                                                                        of the debtor, and rights of setoff claims. Give
                                                                                                                                                        estimated value of each.

                                                                                                                                                        22. Patents, copyrights, and other intellectual        X
                                                                                                                                                        property. Give particulars.

                                                                                                                                                        23. Licenses, franchises, and other general            X
                                                                                                                                                        intangibles. Give particulars.




                                                                                                                                                                                                   Case 15-20184          Doc# 1     Filed 02/04/15     Page 11 of 62
                                                                                                                                                      B6B (Official Form 6B) (12/07) -- Cont.


                                                                                                                                                      In re     Mark H. Engen & Maureen E. Engen                                                        Case No.
                                                                                                                                                                                        Debtor                                                                                  (If known)

                                                                                                                                                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                                                                                         (Continuation Sheet)




                                                                                                                                                                                                                                                                                        HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                                                                               CURRENT VALUE OF




                                                                                                                                                                                                                                                                                          OR COMMUNITY
                                                                                                                                                                                                                                                                                                               DEBTOR’S INTEREST
                                                                                                                                                                                                             N                                                                                                    IN PROPERTY,
                                                                                                                                                                  TYPE OF PROPERTY                           O                  DESCRIPTION AND LOCATION                                                            WITHOUT
                                                                                                                                                                                                             N                        OF PROPERTY                                                               DEDUCTING ANY
                                                                                                                                                                                                             E                                                                                                  SECURED CLAIM
                                                                                                                                                                                                                                                                                                                 OR EXEMPTION
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                                                                                                                                                        24. Customer lists or other compilations             X
                                                                                                                                                        containing personally identifiable information (as
                                                                                                                                                        defined in 11 U.S.C. §101(41A)) provided to the
                                                                                                                                                        debtor by individuals in connection with obtaining
                                                                                                                                                        a product or service from the debtor primarily for
                                                                                                                                                        personal, family, or household purposes.

                                                                                                                                                        25. Automobiles, trucks, trailers, and other             2006 Pontiac Montana, fair condition                                         J                          3,200
                                                                                                                                                        vehicles and accessories.
                                                                                                                                                                                                                 Residence

                                                                                                                                                                                                                 2004 VW Jetta 185,000 miles fair condition                                   J                          1,555
                                                                                                                                                                                                                 Residence

                                                                                                                                                                                                                 2015 Kia Sorento                                                             J                         30,000
                                                                                                                                                                                                                 Residence

                                                                                                                                                        26. Boats, motors, and accessories.                      2003 Kia Spectra, fair condition                                             J                           785
                                                                                                                                                                                                                 Residence

                                                                                                                                                        27. Aircraft and accessories.                        X
                                                                                                                                                        28. Office equipment, furnishings, and supplies.     X
                                                                                                                                                        29. Machinery, fixtures, equipment, and supplies     X
                                                                                                                                                        used in business.

                                                                                                                                                        30. Inventory.                                       X
                                                                                                                                                        31. Animals.                                         X
                                                                                                                                                        32. Crops - growing or harvested. Give               X
                                                                                                                                                        particulars.

                                                                                                                                                        33. Farming equipment and implements.                X
                                                                                                                                                        34. Farm supplies, chemicals, and feed.              X
                                                                                                                                                        35. Other personal property of any kind not          X
                                                                                                                                                        already listed. Itemize.




                                                                                                                                                                                                                                     0        continuation sheets attached        Total                        $        45,617
                                                                                                                                                                                                                                              (Include amounts from any continuation
                                                                                                                                                                                                                                                sheets attached. Report total also on
                                                                                                                                                                                                                                                      Summary of Schedules.)




                                                                                                                                                                                                  Case 15-20184          Doc# 1       Filed 02/04/15            Page 12 of 62
                                                                                                                                                        B6C (Official Form 6C) (04/13)


                                                                                                                                                      In re    Mark H. Engen & Maureen E. Engen                                                Case No.
                                                                                                                                                                                Debtor                                                                               (If known)

                                                                                                                                                                               SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                                                                                        Debtor claims the exemptions to which debtor is entitled under:
                                                                                                                                                        (Check one box)

                                                                                                                                                              11 U.S.C. § 522(b)(2)                                           Check if debtor claims a homestead exemption that exceeds
                                                                                                                                                                                                                              $155,675*.
                                                                                                                                                              11 U.S.C. § 522(b)(3)



                                                                                                                                                                                                                                                                                 CURRENT
                                                                                                                                                                                                                     SPECIFY LAW                        VALUE OF            VALUE OF PROPERTY
                                                                                                                                                                  DESCRIPTION OF PROPERTY                          PROVIDING EACH                       CLAIMED             WITHOUT DEDUCTING
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                                                                                                                                                                                                                      EXEMPTION                        EXEMPTION                EXEMPTION


                                                                                                                                                         TIAA-CREF retirement account                    KS § 60-2313(a)(1)                                      3,302                      3,302

                                                                                                                                                         single family residence                         KS § 60-2301                                                 0                   165,000

                                                                                                                                                         misc household furnishings                      KS § 60-2304(a)                                         2,200                      2,200

                                                                                                                                                         clothing                                        KS § 60-2304(a)                                           875                        875

                                                                                                                                                         misc jewelry                                    KS § 60-2304(b)                                         1,200                      1,200

                                                                                                                                                         TIAA-CREF retirement account                    KS § 60-2313(a)(1)                                      2,400                      2,400

                                                                                                                                                         2006 Pontiac Montana, fair condition            KS § 60-2304(c)                                         3,200                      3,200

                                                                                                                                                         2015 Kia Sorento                                KS § 60-2304(c)                                              0                    30,000
                                                                                                                                                                                                         KS § 60-2304(c)                                              0

                                                                                                                                                                                                         Total exemptions claimed:                              13,177




                                                                                                                                                       *Amount subject to adjustment on 4/01/16 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                                                                                                                         Case 15-20184          Doc# 1        Filed 02/04/15          Page 13 of 62
                                                                                                                                                      B6D (Official Form 6D) (12/07)

                                                                                                                                                               Mark H. Engen & Maureen E. Engen
                                                                                                                                                      In re _______________________________________________,                                                                  Case No. _________________________________
                                                                                                                                                                                     Debtor                                                                                                                                 (If known)

                                                                                                                                                                         SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                                                                                 State the name, mailing address, including zip code and last four digits of any account number of all entities holding claims secured
                                                                                                                                                      by property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                                                                                                      useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests
                                                                                                                                                      such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
                                                                                                                                                                  List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, state the child's initials and the name and
                                                                                                                                                      address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C
                                                                                                                                                      §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
                                                                                                                                                                 If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor,"
                                                                                                                                                      include the entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether
                                                                                                                                                      husband, wife, both of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled
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                                                                                                                                                      "Husband, Wife, Joint, or Community."
                                                                                                                                                                 If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column
                                                                                                                                                      labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than
                                                                                                                                                      one of these three columns.)
                                                                                                                                                                 Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes
                                                                                                                                                      labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting
                                                                                                                                                      Value of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from
                                                                                                                                                      the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities and Related Data.


                                                                                                                                                                Check this box if debtor has no creditors holding secured claims to report on this Schedule D.


                                                                                                                                                                                                                                                                                                                        AMOUNT
                                                                                                                                                                                                                HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                                                            UNLIQUIDATED
                                                                                                                                                                                                                                                                               CONTINGENT
                                                                                                                                                                                                                                           DATE CLAIM WAS INCURRED,                                                        OF
                                                                                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                                                           DISPUTED
                                                                                                                                                                 CREDITOR’S NAME,
                                                                                                                                                                                                                   ORCOMMUNITY




                                                                                                                                                                  MAILING ADDRESS                                                             NATURE OF LIEN, AND                                                        CLAIM           UNSECURED
                                                                                                                                                                INCLUDING ZIP CODE,                                                            DESCRIPTION AND                                                          WITHOUT           PORTION,
                                                                                                                                                               AND ACCOUNT NUMBER                                                             VALUE OF PROPERTY                                                        DEDUCTING           IF ANY
                                                                                                                                                                 (See Instructions Above.)                                                      SUBJECT TO LIEN                                                         VALUE OF
                                                                                                                                                                                                                                                                                                                      COLLATERAL


                                                                                                                                                      ACCOUNT NO.                                                                      foreclosure lawsuit filed
                                                                                                                                                      BMO Harris Bank NA
                                                                                                                                                      c/o South & Associates                                                                                                                                          Notice Only    Notice Only
                                                                                                                                                      6363 College Blvd. Suite 100
                                                                                                                                                      Overland Park, KS 66211
                                                                                                                                                                                                                                        VALUE $                           0
                                                                                                                                                      ACCOUNT NO. 3592                                                                 Incurred: 6/2003                                                                                        727
                                                                                                                                                      BMO HARRIS TRUST& SAVI                                                           Lien: First Mortgage
                                                                                                                                                      111 W MONROE ST                                                                  Security: homestead
                                                                                                                                                                                                                 H                                                                                                        165,727
                                                                                                                                                      CHICAGO, IL 60603

                                                                                                                                                                                                                                       VALUE $                     165,000
                                                                                                                                                      ACCOUNT NO.                                                                      Incurred: 12/27/2014                                                                                  3,639
                                                                                                                                                      Kia Motors Finance                                                               Lien: PMSI in vehicle < 910 days
                                                                                                                                                      P.O. Box 105299                                                                  Security: 2015 Kia Sorento
                                                                                                                                                                                                                 W                                                                                                         33,639
                                                                                                                                                      Atlanta, GA 30348


                                                                                                                                                                                                                                        VALUE $                     30,000

                                                                                                                                                         1
                                                                                                                                                       _______continuation sheets attached                                                                                    Subtotal     $                              199,366   $        4,366
                                                                                                                                                                                                                                                                      (Total of this page)
                                                                                                                                                                                                                                                                                  Total    $                                        $
                                                                                                                                                                                                                                                                   (Use only on last page)
                                                                                                                                                                                                                                                                                                           (Report also on       (If applicable, report
                                                                                                                                                                                                                                                                                                           Summary of Schedules) also on Statistical
                                                                                                                                                                                                                                                                                                                                 Summary of Certain
                                                                                                                                                                                     Case 15-20184                                      Doc# 1        Filed 02/04/15          Page                         14 of 62              Liabilities and Related
                                                                                                                                                                                                                                                                                                                                 Data.)
                                                                                                                                                      B6D (Official Form 6D) (12/07) – Cont.



                                                                                                                                                               Mark H. Engen & Maureen E. Engen
                                                                                                                                                      In re __________________________________________________,                                                               Case No. _________________________________
                                                                                                                                                                                                 Debtor                                                                                                                               (If known)



                                                                                                                                                                           SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                                                                                                                                                                  (Continuation Sheet)




                                                                                                                                                                                                                  HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                                                                                               AMOUNT




                                                                                                                                                                                                                                                                                                   UNLIQUIDATED
                                                                                                                                                                                                                    ORCOMMUNITY




                                                                                                                                                                                                                                                                                      CONTINGENT
                                                                                                                                                                 CREDITOR’S NAME,                      CODEBTOR                              DATE CLAIM WAS INCURRED,                                                             OF
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                                                                                                                                                                                                                                                                                                                  DISPUTED
                                                                                                                                                                  MAILING ADDRESS                                                               NATURE OF LIEN, AND                                                             CLAIM        UNSECURED
                                                                                                                                                                INCLUDING ZIP CODE,                                                              DESCRIPTION AND                                                               WITHOUT        PORTION,
                                                                                                                                                               AND ACCOUNT NUMBER                                                               VALUE OF PROPERTY                                                             DEDUCTING        IF ANY
                                                                                                                                                                 (See Instructions Above.)                                                        SUBJECT TO LIEN                                                              VALUE OF
                                                                                                                                                                                                                                                                                                                             COLLATERAL

                                                                                                                                                      ACCOUNT NO. 7735                                                                   Incurred: 6/2003
                                                                                                                                                                                                                                         Lien: Second Mortgage
                                                                                                                                                      OCWEN LOAN SERVICING L                                                             Security: homestead
                                                                                                                                                      12650 INGENUITY DR                                             J                   there is no equity for this lien to attach                                               20,925                  0
                                                                                                                                                      ORLANDO, FL 32826                                                                  to

                                                                                                                                                                                                                                         VALUE $                         165,000
                                                                                                                                                      ACCOUNT NO.




                                                                                                                                                                                                                                         VALUE $
                                                                                                                                                      ACCOUNT NO.




                                                                                                                                                                                                                                         VALUE $
                                                                                                                                                      ACCOUNT NO.




                                                                                                                                                                                                                                         VALUE $
                                                                                                                                                      ACCOUNT NO.




                                                                                                                                                                                                                                         VALUE $
                                                                                                                                                                 1 of ___continuation
                                                                                                                                                      Sheet no. ___    1              sheets attached to                                                                        Subtotal (s)    $                                 20,925 $                0
                                                                                                                                                      Schedule of Creditors Holding Secured Claims                                                                      (Total(s) of this page)
                                                                                                                                                                                                                                                                                      Total(s) $                                 220,291 $           4,366
                                                                                                                                                                                                                                                                       (Use only on last page)
                                                                                                                                                                                                                                                                                                                     (Report also on       (If applicable, report
                                                                                                                                                                                                                                                                                                                     Summary of Schedules) also on Statistical
                                                                                                                                                                                       Case 15-20184                                       Doc# 1         Filed 02/04/15              Page                          15 of 62               Summary of Certain
                                                                                                                                                                                                                                                                                                                                           Liabilities and Related
                                                                                                                                                                                                                                                                                                                                           Data.)
                                                                                                                                                      B6E (Official Form 6E) (04/13)


                                                                                                                                                                 Mark H. Engen & Maureen E. Engen
                                                                                                                                                         In re________________________________________________________________,                         Case No.______________________________
                                                                                                                                                                                 Debtor                                                                               (if known)

                                                                                                                                                              SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                                                                               A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
                                                                                                                                                        unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing
                                                                                                                                                        address, including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the
                                                                                                                                                        property of the debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with
                                                                                                                                                        the type of priority.

                                                                                                                                                               The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                                                                                                        the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
                                                                                                                                                        "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed.R.Bankr.P. 1007(m).
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                                                                                                                                                                If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
                                                                                                                                                        entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife,
                                                                                                                                                        both of them or the marital community may be liable on each claim by placing an "H,""W,""J," or "C" in the column labeled "Husband, Wife,
                                                                                                                                                        Joint, or Community." If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X"
                                                                                                                                                        in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in
                                                                                                                                                        more than one of these three columns.)

                                                                                                                                                              Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this
                                                                                                                                                        Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

                                                                                                                                                                  Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
                                                                                                                                                        amounts entitled to priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with
                                                                                                                                                        primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

                                                                                                                                                                 Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
                                                                                                                                                        amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors
                                                                                                                                                        with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related
                                                                                                                                                        Data.



                                                                                                                                                            Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

                                                                                                                                                       TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)


                                                                                                                                                             Domestic Support Obligations

                                                                                                                                                            Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
                                                                                                                                                      or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
                                                                                                                                                      11 U.S.C. § 507(a)(1).


                                                                                                                                                             Extensions of credit in an involuntary case

                                                                                                                                                            Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
                                                                                                                                                      appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

                                                                                                                                                             Wages, salaries, and commissions

                                                                                                                                                               Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
                                                                                                                                                       independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the
                                                                                                                                                       cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

                                                                                                                                                             Contributions to employee benefit plans

                                                                                                                                                                  Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
                                                                                                                                                          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

                                                                                                                                                                                     Case 15-20184               Doc# 1         Filed 02/04/15            Page 16 of 62
                                                                                                                                                               *Amount subject to adjustment on 4/01/16 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                                                                                        B6E (Official Form 6E) (04/13) - Cont.

                                                                                                                                                                    Mark H. Engen & Maureen E. Engen
                                                                                                                                                            In re________________________________________________________________,                      Case No.______________________________
                                                                                                                                                                                    Debtor                                                                            (if known)




                                                                                                                                                             Certain farmers and fishermen
                                                                                                                                                           Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).
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                                                                                                                                                             Deposits by individuals
                                                                                                                                                           Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
                                                                                                                                                       that were not delivered or provided. 11 U.S.C. § 507(a)(7).

                                                                                                                                                             Taxes and Certain Other Debts Owed to Governmental Units

                                                                                                                                                           Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).



                                                                                                                                                             Commitments to Maintain the Capital of an Insured Depository Institution

                                                                                                                                                          Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
                                                                                                                                                       Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11
                                                                                                                                                       U.S.C. § 507 (a)(9).



                                                                                                                                                             Claims for Death or Personal Injury While Debtor Was Intoxicated

                                                                                                                                                            Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
                                                                                                                                                      alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).
                                                                                                                                                      alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).



                                                                                                                                                             * Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
                                                                                                                                                             adjustment.




                                                                                                                                                                                                                 1
                                                                                                                                                                                                                ____ continuation sheets attached




                                                                                                                                                                                      Case 15-20184              Doc# 1         Filed 02/04/15            Page 17 of 62
                                                                                                                                                      B6E (Official Form 6E) (04/13) - Cont.


                                                                                                                                                            In reMark  H. Engen & Maureen E. Engen
                                                                                                                                                                 __________________________________________________,                                                                                                Case No. _________________________________
                                                                                                                                                                                          Debtor                                                                                                                                        (If known)

                                                                                                                                                           SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                                                                                                                                                                 (Continuation Sheet)                                              Sec. 507(a)(8)

                                                                                                                                                                                                                                                                                                              Type of Priority for Claims Listed on This Sheet




                                                                                                                                                                                                                  HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                                                    UNLIQUIDATED
                                                                                                                                                                                                                    ORCOMMUNITY




                                                                                                                                                                                                                                                                       CONTINGENT
                                                                                                                                                                  CREDITOR’S NAME,                                                        DATE CLAIM WAS                                                                                               AMOUNT

                                                                                                                                                                                                       CODEBTOR




                                                                                                                                                                                                                                                                                                   DISPUTED
                                                                                                                                                                  MAILING ADDRESS                                                          INCURRED AND                                                             AMOUNT            AMOUNT             NOT
                                                                                                                                                                INCLUDING ZIP CODE,                                                       CONSIDERATION                                                               OF            ENTITLED TO       ENTITLED
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                                                                                                                                                               AND ACCOUNT NUMBER                                                            FOR CLAIM                                                               CLAIM           PRIORITY             TO
                                                                                                                                                                 (See instructions above..)                                                                                                                                                          PRIORITY, IF
                                                                                                                                                                                                                                                                                                                                                         ANY

                                                                                                                                                      ACCOUNT NO.                                                                        Incurred: 2011, 2012, 2013,
                                                                                                                                                                                                                                         2014
                                                                                                                                                      Internal Revenue Service                                                           Consideration: income tax
                                                                                                                                                      P.O. Box 7346                                                   J                                                                                                 29,073            23,123            5,950
                                                                                                                                                      Philadelphia, PA 19101-7346



                                                                                                                                                      ACCOUNT NO.
                                                                                                                                                                                                                                         Incurred: 2012, 2014
                                                                                                                                                      Kansas Dept. of Revenue                                                            Consideration: state
                                                                                                                                                      915 SW Harrison St.                                                                income tax
                                                                                                                                                                                                                      J                                                                                                  3,600             3,600                 0
                                                                                                                                                      Topeka, KS 66699-1000



                                                                                                                                                      ACCOUNT NO.




                                                                                                                                                      ACCOUNT NO.




                                                                                                                                                                 1 of ___continuation
                                                                                                                                                                       1                                                                                          Subtotal                                     $        32,673      $     26,723     $      5,950
                                                                                                                                                      Sheet no. ___                    sheets attached to Schedule of                                    (Totals of this page)
                                                                                                                                                      Creditors Holding Priority Claims
                                                                                                                                                                                                                                                                  Total                                        $        32,673
                                                                                                                                                                                                                    (Use only on last page of the completed
                                                                                                                                                                                                                    Schedule E.) Report also on the Summary
                                                                                                                                                                                                                    of Schedules)

                                                                                                                                                                                                                                                                   Totals                                      $                    $     26,723      $     5,950
                                                                                                                                                                                                                    (Use only on last page of the completed
                                                                                                                                                                                                                    Schedule E. If applicable, report also on
                                                                                                                                                                                                                    the Statistical Summary of Certain
                                                                                                                                                                                                                    Liabilities and Related Data.)




                                                                                                                                                                                       Case 15-20184                                       Doc# 1         Filed 02/04/15                                            Page 18 of 62
                                                                                                                                                      B6F (Official Form 6F) (12/07)

                                                                                                                                                               Mark H. Engen & Maureen E. Engen
                                                                                                                                                       In re __________________________________________,                                                                       Case No. _________________________________
                                                                                                                                                                                      Debtor                                                                                                                               (If known)

                                                                                                                                                            SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                   State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority
                                                                                                                                                       against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                                                                                                       useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address
                                                                                                                                                       of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed. R. Bankr. P.
                                                                                                                                                       1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
                                                                                                                                                                  If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
                                                                                                                                                       appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital
                                                                                                                                                       community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."

                                                                                                                                                                 If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
                                                                                                                                                       "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
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                                                                                                                                                                 Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the
                                                                                                                                                       Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and
                                                                                                                                                       Related Data.
                                                                                                                                                                Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                                                                                                                                                                                      HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                                                                           UNLIQUIDATED
                                                                                                                                                                                                                        ORCOMMUNITY




                                                                                                                                                                                                                                                                                              CONTINGENT
                                                                                                                                                                                                                                                  DATE CLAIM WAS INCURRED AND
                                                                                                                                                                                                           CODEBTOR




                                                                                                                                                                  CREDITOR’S NAME,




                                                                                                                                                                                                                                                                                                                          DISPUTED
                                                                                                                                                                                                                                                    CONSIDERATION FOR CLAIM.                                                             AMOUNT
                                                                                                                                                                   MAILING ADDRESS                                                                                                                                                         OF
                                                                                                                                                                 INCLUDING ZIP CODE,                                                              IF CLAIM IS SUBJECT TO SETOFF,
                                                                                                                                                                                                                                                             SO STATE.                                                                    CLAIM
                                                                                                                                                                AND ACCOUNT NUMBER
                                                                                                                                                                  (See instructions above.)

                                                                                                                                                      ACCOUNT NO.         4774
                                                                                                                                                      AFFILIATED MANAGEMEN
                                                                                                                                                      7219 METCALF SUITE 202                                            H                                                                                                                          437
                                                                                                                                                      OVERLAND PARK, KS 66204-0947



                                                                                                                                                      ACCOUNT NO.         7252
                                                                                                                                                      BBY/CBNA
                                                                                                                                                      50 NORTHWEST POINT ROAD                                           H                                                                                                                          288
                                                                                                                                                      ELK GROVE VILLAGE, IL 60007



                                                                                                                                                      ACCOUNT NO.         7252                                                               Incurred: 6/2011
                                                                                                                                                      Best Buy Credit Services                                                               Consideration: Credit card debt
                                                                                                                                                      P.O. Box 790441                                                   H                                                                                                                          288
                                                                                                                                                      St. Louis, MO 63179



                                                                                                                                                      ACCOUNT NO.         7785                                                               Consideration: Credit card debt
                                                                                                                                                      CAP ONE
                                                                                                                                                      PO BOX 85520                                                      H                                                                                                                         1,551
                                                                                                                                                      RICHMOND, VA 23285




                                                                                                                                                            6
                                                                                                                                                          _______continuation sheets attached                                                                                               Subtotal                                 $            2,564
                                                                                                                                                                                                                                                                        Total                                                        $
                                                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                          Case       (Report also onDoc#
                                                                                                                                                                                                    15-20184        Summary
                                                                                                                                                                                                                          1 of Schedules  and, if applicable,
                                                                                                                                                                                                                               Filed 02/04/15            Page on the
                                                                                                                                                                                                                                                                   19Statistical
                                                                                                                                                                                                                                                                       of 62
                                                                                                                                                                                                                          Summary of Certain Liabilities and Related Data.)
                                                                                                                                                      B6F (Official Form 6F) (12/07) - Cont.


                                                                                                                                                                Mark H. Engen & Maureen E. Engen
                                                                                                                                                        In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                                                                         Debtor                                                                                                                             (If known)


                                                                                                                                                           SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                                                                (Continuation Sheet)




                                                                                                                                                                                                                 HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                                                                             UNLIQUIDATED
                                                                                                                                                                                                                   ORCOMMUNITY




                                                                                                                                                                                                                                                                                                CONTINGENT
                                                                                                                                                                 CREDITOR’S NAME,
                                                                                                                                                                                                      CODEBTOR
                                                                                                                                                                                                                                                  DATE CLAIM WAS INCURRED AND                                                               AMOUNT




                                                                                                                                                                                                                                                                                                                             DISPUTED
                                                                                                                                                                  MAILING ADDRESS
                                                                                                                                                                                                                                                    CONSIDERATION FOR CLAIM.                                                                  OF
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                                                                                                                                                                INCLUDING ZIP CODE,
                                                                                                                                                                                                                                                  IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                                                                               AND ACCOUNT NUMBER
                                                                                                                                                                 (See instructions above.)


                                                                                                                                                      ACCOUNT NO.      0716                                                              Consideration: Credit card debt
                                                                                                                                                      CAP ONE
                                                                                                                                                      PO BOX 85520                                                   W                                                                                                                               743
                                                                                                                                                      RICHMOND, VA 23285



                                                                                                                                                      ACCOUNT NO.      6353                                                              Consideration: student loan
                                                                                                                                                      CBE Group
                                                                                                                                                      P.O. Box 930                                                   H                                                                                                                         37,509
                                                                                                                                                      Waterloo, IA 50704-0930



                                                                                                                                                      ACCOUNT NO.      8718
                                                                                                                                                      CCS/FIRST NATIONAL BAN
                                                                                                                                                      500 E 60TH ST N                                                W                                                                                                                               245
                                                                                                                                                      SIOUX FALLS, SD 57104



                                                                                                                                                      ACCOUNT NO.      1653
                                                                                                                                                      CHASE
                                                                                                                                                      PO BOX 15298                                                   H                                                                                                                               597
                                                                                                                                                      WILMINGTON, DE 19850



                                                                                                                                                       ACCOUNT NO.     0876
                                                                                                                                                      CHASE
                                                                                                                                                      PO BOX 15298                                                   W                                                                                                                               567
                                                                                                                                                      WILMINGTON, DE 19850



                                                                                                                                                                 1 of _____continuation
                                                                                                                                                      Sheet no. _____    6                sheets attached                                                                                     Subtotal                                  $      39,661
                                                                                                                                                      to Schedule of Creditors Holding Unsecured
                                                                                                                                                      Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                                                                    (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                                                                        (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                                                                           Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                                                                                      Case 15-20184                                        Doc# 1        Filed 02/04/15           Page 20 of 62
                                                                                                                                                      B6F (Official Form 6F) (12/07) - Cont.


                                                                                                                                                                Mark H. Engen & Maureen E. Engen
                                                                                                                                                        In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                                                                         Debtor                                                                                                                             (If known)


                                                                                                                                                           SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                                                                (Continuation Sheet)




                                                                                                                                                                                                                 HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                                                                             UNLIQUIDATED
                                                                                                                                                                                                                   ORCOMMUNITY




                                                                                                                                                                                                                                                                                                CONTINGENT
                                                                                                                                                                 CREDITOR’S NAME,
                                                                                                                                                                                                      CODEBTOR
                                                                                                                                                                                                                                                  DATE CLAIM WAS INCURRED AND                                                               AMOUNT




                                                                                                                                                                                                                                                                                                                             DISPUTED
                                                                                                                                                                  MAILING ADDRESS
                                                                                                                                                                                                                                                    CONSIDERATION FOR CLAIM.                                                                  OF
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                                                                                                                                                                INCLUDING ZIP CODE,
                                                                                                                                                                                                                                                  IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                                                                               AND ACCOUNT NUMBER
                                                                                                                                                                 (See instructions above.)


                                                                                                                                                      ACCOUNT NO.      5765                                                              Consideration: Credit card debt
                                                                                                                                                      CITI
                                                                                                                                                      PO BOX 6241                                                    J                                                                                                                          1,613
                                                                                                                                                      SIOUX FALLS, SD 57117



                                                                                                                                                      ACCOUNT NO.      5501
                                                                                                                                                      CONSUMER COLLECTION MN
                                                                                                                                                      2333 GRISSOM DR                                                W                                                                                                                               239
                                                                                                                                                      SAINT LOUIS, MO 63146



                                                                                                                                                      ACCOUNT NO.      8762
                                                                                                                                                      CREDIT ONE BANK NA
                                                                                                                                                      PO BOX 98875                                                   H                                                                                                                               820
                                                                                                                                                      LAS VEGAS, NV 89193



                                                                                                                                                      ACCOUNT NO.      7749
                                                                                                                                                      CREDIT ONE BANK NA
                                                                                                                                                      PO BOX 98875                                                   W                                                                                                                               523
                                                                                                                                                      LAS VEGAS, NV 89193



                                                                                                                                                       ACCOUNT NO.     0816                                                              Consideration: student loan
                                                                                                                                                      DEPT OF ED/NAVIENT
                                                                                                                                                      PO BOX 9635                                                    H                                                                                                                         16,975
                                                                                                                                                      WILKES BARRE, PA 18773



                                                                                                                                                                 2 of _____continuation
                                                                                                                                                      Sheet no. _____    6                sheets attached                                                                                     Subtotal                                  $      20,170
                                                                                                                                                      to Schedule of Creditors Holding Unsecured
                                                                                                                                                      Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                                                                    (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                                                                        (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                                                                           Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                                                                                      Case 15-20184                                        Doc# 1        Filed 02/04/15           Page 21 of 62
                                                                                                                                                      B6F (Official Form 6F) (12/07) - Cont.


                                                                                                                                                                Mark H. Engen & Maureen E. Engen
                                                                                                                                                        In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                                                                         Debtor                                                                                                                             (If known)


                                                                                                                                                           SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                                                                (Continuation Sheet)




                                                                                                                                                                                                                 HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                                                                             UNLIQUIDATED
                                                                                                                                                                                                                   ORCOMMUNITY




                                                                                                                                                                                                                                                                                                CONTINGENT
                                                                                                                                                                 CREDITOR’S NAME,
                                                                                                                                                                                                      CODEBTOR
                                                                                                                                                                                                                                                  DATE CLAIM WAS INCURRED AND                                                               AMOUNT




                                                                                                                                                                                                                                                                                                                             DISPUTED
                                                                                                                                                                  MAILING ADDRESS
                                                                                                                                                                                                                                                    CONSIDERATION FOR CLAIM.                                                                  OF
Bankruptcy2015 ©1991-2015, New Hope Software, Inc., ver. 5.1.1-872 - Wednesday, February 04, 2015, at 12:40:30 - 31564-301X-***** - PDF-XChange 4.0




                                                                                                                                                                INCLUDING ZIP CODE,
                                                                                                                                                                                                                                                  IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                                                                               AND ACCOUNT NUMBER
                                                                                                                                                                 (See instructions above.)


                                                                                                                                                      ACCOUNT NO.      0829                                                              Consideration: student loan
                                                                                                                                                      DEPT OF ED/NAVIENT
                                                                                                                                                      PO BOX 9635                                                    H                                                                                                                          8,266
                                                                                                                                                      WILKES BARRE, PA 18773



                                                                                                                                                      ACCOUNT NO.      7597
                                                                                                                                                      DISCOVER FIN SVCS LLC
                                                                                                                                                      PO BOX 15316                                                   H                                                                                                                          3,674
                                                                                                                                                      WILMINGTON, DE 19850



                                                                                                                                                      ACCOUNT NO.      8718                                                              Consideration: Credit card debt
                                                                                                                                                      First National Credit Card
                                                                                                                                                      P.O. Box 5097                                                  W                                                                                                                               245
                                                                                                                                                      Sioux Falls, SD 57117-5097



                                                                                                                                                      ACCOUNT NO.      0368
                                                                                                                                                      FNB OMAHA
                                                                                                                                                      1620 DODGE ST                                                  H                                                                                                                          3,026
                                                                                                                                                      OMAHA, NE 68197



                                                                                                                                                       ACCOUNT NO.     9539
                                                                                                                                                      KANSAS COUNSELORS OF K
                                                                                                                                                      PO BOX 14765                                                   W                                                                                                                               106
                                                                                                                                                      SHAWNEE MISSION, KS 66285



                                                                                                                                                                 3 of _____continuation
                                                                                                                                                      Sheet no. _____    6                sheets attached                                                                                     Subtotal                                  $      15,317
                                                                                                                                                      to Schedule of Creditors Holding Unsecured
                                                                                                                                                      Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                                                                    (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                                                                        (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                                                                           Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                                                                                      Case 15-20184                                        Doc# 1        Filed 02/04/15           Page 22 of 62
                                                                                                                                                      B6F (Official Form 6F) (12/07) - Cont.


                                                                                                                                                                Mark H. Engen & Maureen E. Engen
                                                                                                                                                        In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                                                                         Debtor                                                                                                                             (If known)


                                                                                                                                                           SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                                                                (Continuation Sheet)




                                                                                                                                                                                                                 HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                                                                             UNLIQUIDATED
                                                                                                                                                                                                                   ORCOMMUNITY




                                                                                                                                                                                                                                                                                                CONTINGENT
                                                                                                                                                                 CREDITOR’S NAME,
                                                                                                                                                                                                      CODEBTOR
                                                                                                                                                                                                                                                  DATE CLAIM WAS INCURRED AND                                                               AMOUNT




                                                                                                                                                                                                                                                                                                                             DISPUTED
                                                                                                                                                                  MAILING ADDRESS
                                                                                                                                                                                                                                                    CONSIDERATION FOR CLAIM.                                                                  OF
Bankruptcy2015 ©1991-2015, New Hope Software, Inc., ver. 5.1.1-872 - Wednesday, February 04, 2015, at 12:40:30 - 31564-301X-***** - PDF-XChange 4.0




                                                                                                                                                                INCLUDING ZIP CODE,
                                                                                                                                                                                                                                                  IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                                                                               AND ACCOUNT NUMBER
                                                                                                                                                                 (See instructions above.)


                                                                                                                                                      ACCOUNT NO.      9540
                                                                                                                                                      KANSAS COUNSELORS OF K
                                                                                                                                                      PO BOX 14765                                                   W                                                                                                                                74
                                                                                                                                                      SHAWNEE MISSION, KS 66285



                                                                                                                                                      ACCOUNT NO.      0842
                                                                                                                                                      KOHLS/CAPONE
                                                                                                                                                      N56 W 17000 RIDGEWOOD DR                                       W                                                                                                                               124
                                                                                                                                                      MENOMONEE FALLS, WI 53051



                                                                                                                                                      ACCOUNT NO.      5419
                                                                                                                                                      MNET FIN INC
                                                                                                                                                      95 ARGONAUT STE 250                                            W                                                                                                                               439
                                                                                                                                                      ALISO VIEJO, CA 92656



                                                                                                                                                      ACCOUNT NO.      9498                                                              Incurred: 10/2012
                                                                                                                                                      Mobiloans                                                                          Consideration: Personal loan
                                                                                                                                                      151 Melacon Drive                                              W                                                                                                                               965
                                                                                                                                                      Marksville, LA 71315



                                                                                                                                                       ACCOUNT NO.     9475
                                                                                                                                                      OPTIMA RECOVERY SERVIC
                                                                                                                                                      6215 KINGSTON PK STE A                                         W                                                                                                                               533
                                                                                                                                                      KNOXVILLE, TN 37919



                                                                                                                                                                 4 of _____continuation
                                                                                                                                                      Sheet no. _____    6                sheets attached                                                                                     Subtotal                                  $       2,135
                                                                                                                                                      to Schedule of Creditors Holding Unsecured
                                                                                                                                                      Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                                                                    (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                                                                        (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                                                                           Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                                                                                      Case 15-20184                                        Doc# 1        Filed 02/04/15           Page 23 of 62
                                                                                                                                                      B6F (Official Form 6F) (12/07) - Cont.


                                                                                                                                                                Mark H. Engen & Maureen E. Engen
                                                                                                                                                        In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                                                                         Debtor                                                                                                                             (If known)


                                                                                                                                                           SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                                                                (Continuation Sheet)




                                                                                                                                                                                                                 HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                                                                             UNLIQUIDATED
                                                                                                                                                                                                                   ORCOMMUNITY




                                                                                                                                                                                                                                                                                                CONTINGENT
                                                                                                                                                                 CREDITOR’S NAME,
                                                                                                                                                                                                      CODEBTOR
                                                                                                                                                                                                                                                  DATE CLAIM WAS INCURRED AND                                                               AMOUNT




                                                                                                                                                                                                                                                                                                                             DISPUTED
                                                                                                                                                                  MAILING ADDRESS
                                                                                                                                                                                                                                                    CONSIDERATION FOR CLAIM.                                                                  OF
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                                                                                                                                                                INCLUDING ZIP CODE,
                                                                                                                                                                                                                                                  IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                                                                               AND ACCOUNT NUMBER
                                                                                                                                                                 (See instructions above.)


                                                                                                                                                      ACCOUNT NO.      6966
                                                                                                                                                      SEARS/CBNA
                                                                                                                                                      PO BOX 6282                                                    H                                                                                                                               103
                                                                                                                                                      SIOUX FALLS, SD 57117



                                                                                                                                                      ACCOUNT NO.      6474
                                                                                                                                                      SPRINGLEAF
                                                                                                                                                      PO BOX 64                                                      H                                                                                                                               952
                                                                                                                                                      EVANSVILLE, IN 47701



                                                                                                                                                      ACCOUNT NO.      6986
                                                                                                                                                      STATE FARM FINANCIAL S
                                                                                                                                                      3 STATE FARM PLAZA N-4                                         H                                                                                                                          2,702
                                                                                                                                                      BLOOMINGTON, IL 61791



                                                                                                                                                      ACCOUNT NO.      6800
                                                                                                                                                      SYNCB/CARE CREDIT
                                                                                                                                                      950 FORRER BLVD                                                H                                                                                                                               312
                                                                                                                                                      KETTERING, OH 45420



                                                                                                                                                       ACCOUNT NO.     3895
                                                                                                                                                      SYNCB/JCP
                                                                                                                                                      PO BOX 965007                                                  H                                                                                                                          1,418
                                                                                                                                                      ORLANDO, FL 32896



                                                                                                                                                                 5 of _____continuation
                                                                                                                                                      Sheet no. _____    6                sheets attached                                                                                     Subtotal                                  $       5,487
                                                                                                                                                      to Schedule of Creditors Holding Unsecured
                                                                                                                                                      Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                                                                    (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                                                                        (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                                                                           Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                                                                                      Case 15-20184                                        Doc# 1        Filed 02/04/15           Page 24 of 62
                                                                                                                                                      B6F (Official Form 6F) (12/07) - Cont.


                                                                                                                                                                Mark H. Engen & Maureen E. Engen
                                                                                                                                                        In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                                                                         Debtor                                                                                                                             (If known)


                                                                                                                                                           SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                                                                (Continuation Sheet)




                                                                                                                                                                                                                 HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                                                                             UNLIQUIDATED
                                                                                                                                                                                                                   ORCOMMUNITY




                                                                                                                                                                                                                                                                                                CONTINGENT
                                                                                                                                                                 CREDITOR’S NAME,
                                                                                                                                                                                                      CODEBTOR
                                                                                                                                                                                                                                                  DATE CLAIM WAS INCURRED AND                                                               AMOUNT




                                                                                                                                                                                                                                                                                                                             DISPUTED
                                                                                                                                                                  MAILING ADDRESS
                                                                                                                                                                                                                                                    CONSIDERATION FOR CLAIM.                                                                  OF
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                                                                                                                                                                INCLUDING ZIP CODE,
                                                                                                                                                                                                                                                  IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                                                                               AND ACCOUNT NUMBER
                                                                                                                                                                 (See instructions above.)


                                                                                                                                                      ACCOUNT NO.      0398
                                                                                                                                                      SYNCB/OLD NAVY
                                                                                                                                                      PO BOX 965005                                                  W                                                                                                                               278
                                                                                                                                                      ORLANDO, FL 32896



                                                                                                                                                      ACCOUNT NO.      4491
                                                                                                                                                      SYNCB/PHILLIPS 66
                                                                                                                                                      4125 WINDWARD PLZ                                              W                                                                                                                               166
                                                                                                                                                      ALPHARETTA, GA 30005



                                                                                                                                                      ACCOUNT NO.      4586
                                                                                                                                                      SYNCB/QVC
                                                                                                                                                      PO BOX 965018                                                  W                                                                                                                          1,124
                                                                                                                                                      ORLANDO, FL 32896



                                                                                                                                                      ACCOUNT NO.      1588
                                                                                                                                                      TD BANK USA/TARGETCRED
                                                                                                                                                      PO BOX 673                                                     W                                                                                                                               486
                                                                                                                                                      MINNEAPOLIS, MN 55440



                                                                                                                                                       ACCOUNT NO.     7103
                                                                                                                                                      VON MAUR
                                                                                                                                                      6565 BRADY ST                                                  W                                                                                                                                78
                                                                                                                                                      DAVENPORT, IA 52806-2054



                                                                                                                                                                 6 of _____continuation
                                                                                                                                                      Sheet no. _____    6                sheets attached                                                                                     Subtotal                                  $       2,132
                                                                                                                                                      to Schedule of Creditors Holding Unsecured
                                                                                                                                                      Nonpriority Claims                                                                                                                          Total                                 $      87,466
                                                                                                                                                                                                                                                    (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                                                                        (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                                                                           Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                                                                                      Case 15-20184                                        Doc# 1        Filed 02/04/15           Page 25 of 62
                                                                                                                                                      B6G (Official Form 6G) (12/07)


                                                                                                                                                              Mark H. Engen & Maureen E. Engen                                           Case No.
                                                                                                                                                      In re
                                                                                                                                                                                Debtor                                                                               (if known)

                                                                                                                                                              SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                                                                                                                  Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
                                                                                                                                                        State nature of debtor’s interest in contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the
                                                                                                                                                        names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or
                                                                                                                                                        contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe,
                                                                                                                                                        guardian." Do not disclose the child’s name. See 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

                                                                                                                                                              Check this box if debtor has no executory contracts or unexpired leases.


                                                                                                                                                                                                                                         DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
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                                                                                                                                                              NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                                DEBTOR’S INTEREST. STATE WHETHER LEASE IS FOR
                                                                                                                                                                 OF OTHER PARTIES TO LEASE OR CONTRACT.                                   NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                                                                                                                                                                              NUMBER OF ANY GOVERNMENT CONTRACT.




                                                                                                                                                                                         Case 15-20184            Doc# 1         Filed 02/04/15            Page 26 of 62
                                                                                                                                                      B6H (Official Form 6H) (12/07)




                                                                                                                                                      In re   Mark H. Engen & Maureen E. Engen                                          Case No.
                                                                                                                                                                               Debtor                                                                              (if known)


                                                                                                                                                                                                  SCHEDULE H - CODEBTORS
                                                                                                                                                          Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any
                                                                                                                                                      debts listed by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community
                                                                                                                                                      property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico,
                                                                                                                                                      Texas, Washington, or Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the
                                                                                                                                                      name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state,
                                                                                                                                                      commonwealth, or territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the
                                                                                                                                                      commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and address of the child's
                                                                                                                                                      parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and
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                                                                                                                                                      Fed. Bankr. P. 1007(m).
                                                                                                                                                          Check this box if debtor has no codebtors.



                                                                                                                                                                    NAME AND ADDRESS OF CODEBTOR                                                   NAME AND ADDRESS OF CREDITOR




                                                                                                                                                                                     Case 15-20184               Doc# 1        Filed 02/04/15            Page 27 of 62
                                                                                                                                                       Fill in this information to identify your case:


                                                                                                                                                       Debtor 1           Mark H. Engen
                                                                                                                                                                          __________________________________________________________ _________
                                                                                                                                                                           First Name             Middle Name             Last Name

                                                                                                                                                       Debtor 2            Maureen E. Engen
                                                                                                                                                                           __________________________________________________________________
                                                                                                                                                       (Spouse, if filing) First Name             Middle Name             Last Name

                                                                                                                                                                                                                                       KS
                                                                                                                                                       United States Bankruptcy Court for the: ___________________________ District of ________

                                                                                                                                                       Case number         ___________________________________________                                         Check if this is:
                                                                                                                                                        (If known)
                                                                                                                                                                                                                                                                     An amended filing
                                                                                                                                                                                                                                                                     A supplement showing post-petition
                                                                                                                                                                                                                                                                     chapter 13 income as of the following date:
                                                                                                                                                                                                                                                                     ________________
                                                                                                                                                      Official Form                     6I                                                                           MM / DD / YYYY


                                                                                                                                                      Schedule I: Your Income                                                                                                                                   12/13
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                                                                                                                                                      Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
                                                                                                                                                      supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
                                                                                                                                                      If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
                                                                                                                                                      separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


                                                                                                                                                       Part 1:           Describe Employment


                                                                                                                                                      1. Fill in your employment
                                                                                                                                                          information.                                                          Debtor 1                                          Debtor 2 or non-filing spouse

                                                                                                                                                          If you have more than one job,
                                                                                                                                                          attach a separate page with
                                                                                                                                                                                               Employment status
                                                                                                                                                                                                                            X      Employed                                       X   Employed
                                                                                                                                                          information about additional
                                                                                                                                                          employers.                                                               Not employed                                       Not employed
                                                                                                                                                          Include part-time, seasonal, or
                                                                                                                                                          self-employed work.                                             Business Manager                                  school principal
                                                                                                                                                                                               Occupation                  __________________ ________________                __________________________________
                                                                                                                                                          Occupation may Include student
                                                                                                                                                          or homemaker, if it applies.
                                                                                                                                                                                                                          Church of the Holy Cross                          Sacred Heart Catholic Church
                                                                                                                                                                                               Employer’s name             __________________ ________________                __________________ ________________


                                                                                                                                                                                               Employer’s address         8311  W. 93rd St.
                                                                                                                                                                                                                           _______________________________________
                                                                                                                                                                                                                                                                   5501  Monticello Road
                                                                                                                                                                                                                                                                    _______________________________________
                                                                                                                                                                                                                            Number     Street                                 Number     Street

                                                                                                                                                                                                                          _______________________________________             _______________________________________

                                                                                                                                                                                                                          _______________________________________             _______________________________________

                                                                                                                                                                                                                          Overland  Park, KS 66212
                                                                                                                                                                                                                          _______________________________________
                                                                                                                                                                                                                                                                  Shawnee,   MS 66226
                                                                                                                                                                                                                                                                   _______________________________________
                                                                                                                                                                                                                            City                  State   ZIP Code            City                   State   ZIP Code

                                                                                                                                                                                               How long employed there?           11 years
                                                                                                                                                                                                                                 _______                                         3 years
                                                                                                                                                                                                                                                                               _______

                                                                                                                                                       Part 2:           Give Details About Monthly Income

                                                                                                                                                          Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
                                                                                                                                                          spouse unless you are separated.
                                                                                                                                                          If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
                                                                                                                                                          below. If you need more space, attach a separate sheet to this form.

                                                                                                                                                                                                                                                          For Debtor 1         For Debtor 2 or
                                                                                                                                                                                                                                                                               non-filing spouse
                                                                                                                                                       2. List monthly gross wages, salary, and commissions (before all payroll
                                                                                                                                                           deductions). If not paid monthly, calculate what the monthly wage would be.            2.            5,200                     7,040
                                                                                                                                                                                                                                                          $___________             $____________

                                                                                                                                                       3. Estimate and list monthly overtime pay.                                                 3.               0
                                                                                                                                                                                                                                                       + $___________         +               0
                                                                                                                                                                                                                                                                                   $____________


                                                                                                                                                       4. Calculate gross income. Add line 2 + line 3.                                            4.            5,200
                                                                                                                                                                                                                                                          $__________                     7,040
                                                                                                                                                                                                                                                                                   $____________



                                                                                                                                                      Official Form       6I                                           Schedule I: Your Income                                                               page 1


                                                                                                                                                                                             Case 15-20184             Doc# 1           Filed 02/04/15                Page 28 of 62
                  Mark H. Engen
Debtor 1         _______________________________________________________                                                   Case number (if known)_____________________________________
                 First Name          Middle Name                Last Name



                                                                                                                          For Debtor 1         For Debtor 2 or
                                                                                                                                               non-filing spouse
                                                                                                                                 5,200
                                                                                                                           $___________
                                                                                                                                                         7,040
                                                                                                                                                   $_____________
   Copy line 4 here ............................................................................................   4.

5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                             5a.            918
                                                                                                                          $____________
                                                                                                                                                          1,920
                                                                                                                                                   $_____________
     5b. Mandatory contributions for retirement plans                                                              5b.              0
                                                                                                                          $____________                       0
                                                                                                                                                   $_____________
     5c. Voluntary contributions for retirement plans                                                              5c.            208
                                                                                                                          $____________                    284
                                                                                                                                                   $_____________
     5d. Required repayments of retirement fund loans                                                              5d.              0
                                                                                                                          $____________                       0
                                                                                                                                                   $_____________
     5e. Insurance                                                                                                 5e.             22
                                                                                                                          $____________
                                                                                                                                                             24
                                                                                                                                                   $_____________
     5f. Domestic support obligations                                                                              5f.
                                                                                                                                    0
                                                                                                                          $____________
                                                                                                                                                              0
                                                                                                                                                   $_____________
                                                                                                                                    0
                                                                                                                          $____________
                                                                                                                                                              0
                                                                                                                                                   $_____________
     5g. Union dues                                                                                                5g.
     5h.                              ;
           Other deductions. Specify: __________________________________                                           5h.               0
                                                                                                                         + $____________       +              0
                                                                                                                                                   $_____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h.                                     6.            1,148
                                                                                                                          $____________
                                                                                                                                                         2,228
                                                                                                                                                   $_____________

                                                                                                                                 4,052                   4,812
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                            7.     $____________            $_____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                          0
                                                                                                                          $____________
                                                                                                                                                              0
                                                                                                                                                   $_____________
           monthly net income.                                                                                     8a.
     8b. Interest and dividends                                                                                    8b.                0                       0
                                                                                                                                                   $_____________
                                                                                                                          $____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                      0                       0
                                                                                                                          $____________            $_____________
           settlement, and property settlement.                                                                    8c.
     8d. Unemployment compensation                                                                                 8d.              0
                                                                                                                          $____________                       0
                                                                                                                                                   $_____________
     8e. Social Security                                                                                           8e.              0
                                                                                                                          $____________                       0
                                                                                                                                                   $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
                                                                                                                                      0
                                                                                                                          $____________
                                                                                                                                                              0
                                                                                                                                                   $_____________
         Nutrition Assistance Program) or housing subsidies.
                    ;
         Specify: ___________________________________________________              8f.

     8g. Pension or retirement income                                                                              8g.              0
                                                                                                                          $____________                       0
                                                                                                                                                   $_____________
                                        ; cell phone reimbursement from employer
     8h. Other monthly income. Specify: _______________________________                  0
                                                                         8h. + $____________                                                               50
                                                                                                                                               + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                          9.               0
                                                                                                                          $____________                      50
                                                                                                                                                   $_____________

10. Calculate monthly income. Add line 7 + line 9.
                                                                                                                                4,052
                                                                                                                          $___________     +             4,862 = $_____________
                                                                                                                                                   $_____________        8,914
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                     10.

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: ______________________________________ ___________________________ ______________                                                                                      0
                                                                                                                                                                  11. + $_____________

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                                8,914
                                                                                                                                                                        $_____________
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                                  12.
                                                                                                                                                                        Combined
                                                                                                                                                                        monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
     X     No.
           Yes. Explain:


Official Form       6I                                                               Schedule I: Your Income                                                               page 2
                                              Case 15-20184                          Doc# 1                Filed 02/04/15            Page 29 of 62
                                                                                                                                                        Fill in this information to identify your case:

                                                                                                                                                        Debtor 1           Mark H. Engen
                                                                                                                                                                          __________________________________________________________________
                                                                                                                                                                            First Name              Middle Name              Last Name                      Check if this is:
                                                                                                                                                        Debtor 2            Maureen E. Engen
                                                                                                                                                                            ________________________________________________________________
                                                                                                                                                        (Spouse, if filing) First Name              Middle Name              Last Name
                                                                                                                                                                                                                                                                An amended filing
                                                                                                                                                                                                                                                                A supplement showing post-petition chapter 13
                                                                                                                                                                                                                                        KS
                                                                                                                                                        United States Bankruptcy Court for the: ___________________________ District of ________                expenses as of the following date:
                                                                                                                                                                                                                                                                ________________
                                                                                                                                                        Case number        ___________________________________________                                          MM / DD / YYYY
                                                                                                                                                        (If known)
                                                                                                                                                                                                                                                                A separate filing for Debtor 2 because Debtor 2
                                                                                                                                                                                                                                                                maintains a separate household
                                                                                                                                                      Official Form                      6J
                                                                                                                                                      Schedule J: Your Expenses                                                                                                                              12/13

                                                                                                                                                      Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
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                                                                                                                                                      information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
                                                                                                                                                      (if known). Answer every question.

                                                                                                                                                       Part 1:            Describe Your Household

                                                                                                                                                      1. Is this a joint case?

                                                                                                                                                              No. Go to line 2.
                                                                                                                                                         X    Yes. Does Debtor 2 live in a separate household?
                                                                                                                                                                      X    No
                                                                                                                                                                           Yes. Debtor 2 must file a separate Schedule J.

                                                                                                                                                      2. Do you have dependents?                      No                                 Dependent’s relationship to              Dependent’s     Does dependent live
                                                                                                                                                         Do not list Debtor 1 and                 X   Yes. Fill out this information for Debtor 1 or Debtor 2                     age             with you?
                                                                                                                                                         Debtor 2.                                    each dependent ..........................
                                                                                                                                                                                                                                          20                                      s                    No
                                                                                                                                                         Do not state the dependents’                                                    __________________ _______               ________
                                                                                                                                                         names.                                                                                                                                   X    Yes
                                                                                                                                                                                                                                         daughter
                                                                                                                                                                                                                                         __________________ _______
                                                                                                                                                                                                                                                                                   18
                                                                                                                                                                                                                                                                                  ________             No
                                                                                                                                                                                                                                                                                                  X    Yes
                                                                                                                                                                                                                                          daughter                                18                   No
                                                                                                                                                                                                                                         __________________ _______               ________
                                                                                                                                                                                                                                                                                                  X    Yes

                                                                                                                                                                                                                                         __________________ _______               ________             No
                                                                                                                                                                                                                                                                                                       Yes

                                                                                                                                                                                                                                         __________________ _______               ________             No
                                                                                                                                                                                                                                                                                                       Yes

                                                                                                                                                      3. Do your expenses include                 X   No
                                                                                                                                                         expenses of people other than
                                                                                                                                                         yourself and your dependents?                Yes

                                                                                                                                                      Part 2:         Estimate Your Ongoing Monthly Expenses

                                                                                                                                                      Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
                                                                                                                                                      expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
                                                                                                                                                      applicable date.
                                                                                                                                                      Include expenses paid for with non-cash government assistance if you know the value
                                                                                                                                                      of such assistance and have included it on Schedule I: Your Income (Official Form 6I.)                                           Your expenses

                                                                                                                                                       4. The rental or home ownership expenses for your residence. Include first mortgage payments and                                                  0
                                                                                                                                                           any rent for the ground or lot.                                                                                  4.
                                                                                                                                                                                                                                                                                      $_____________________

                                                                                                                                                           If not included in line 4:
                                                                                                                                                           4a.    Real estate taxes                                                                                         4a.
                                                                                                                                                                                                                                                                                                         0
                                                                                                                                                                                                                                                                                      $_____________________
                                                                                                                                                           4b.    Property, homeowner’s, or renter’s insurance                                                              4b.                          0
                                                                                                                                                                                                                                                                                      $_____________________
                                                                                                                                                           4c.    Home maintenance, repair, and upkeep expenses                                                             4c.                        400
                                                                                                                                                                                                                                                                                      $_____________________
                                                                                                                                                           4d.    Homeowner’s association or condominium dues                                                               4d.                         32
                                                                                                                                                                                                                                                                                      $_____________________

                                                                                                                                                      Official Form         6J                                      Schedule J: Your Expenses                                                            page 1


                                                                                                                                                                                              Case 15-20184                 Doc# 1       Filed 02/04/15                Page 30 of 62
 Debtor 1         Mark H. Engen
                 _______________________________________________________                   Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




                                                                                                                      Your expenses

                                                                                                                                         0
                                                                                                                     $_________________ ____
 5. Additional mortgage payments for your residence, such as home equity loans                                5.


 6. Utilities:
                                                                                                                                          210
      6a.   Electricity, heat, natural gas                                                                    6a.    $_________________ ____
                                                                                                                                          113
      6b.   Water, sewer, garbage collection                                                                  6b.    $_________________ ____
                                                                                                                                          479
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.    $_________________ ____
                                                                                                                                             0
      6d.   Other. Specify: _______________________________________________                                   6d.    $_________________ ____
                                                                                                                                          900
 7. Food and housekeeping supplies                                                                            7.     $_________________ ____
                                                                                                                                          900
 8. Childcare and children’s education costs                                                                  8.     $_________________ ____
                                                                                                                                          250
 9. Clothing, laundry, and dry cleaning                                                                       9.     $_________________ ____
                                                                                                                                          200
10.   Personal care products and services                                                                     10.    $_________________ ____
                                                                                                                                          200
11.   Medical and dental expenses                                                                             11.    $_________________ ____

12. Transportation. Include gas, maintenance, bus or train fare.                                                                          605
                                                                                                                     $_________________ ____
      Do not include car payments.                                                                            12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.                     290
                                                                                                                     $_________________ ____
14.   Charitable contributions and religious donations                                                        14.    $_________________ 70
                                                                                                                                        ____
                                                                                                                                                    1
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                     15a.   $_________________ 50
                                                                                                                                        ____
      15b. Health insurance                                                                                   15b.                       0
                                                                                                                     $_________________ ____
      15c. Vehicle insurance                                                                                  15c.                    304
                                                                                                                     $_________________ ____
      15d. Other insurance. Specify:_______________________________________                                   15d.                       0
                                                                                                                     $_________________ ____

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                      auto personal property                                                                                          145
                                                                                                                     $_________________ ____
      Specify: ______________________________________ __________________                                      16.

17.   Installment or lease payments:
                                                                                                                                             0
      17a. Car payments for Vehicle 1                                                                         17a.   $_________________ ____
                                                                                                                                             0
      17b. Car payments for Vehicle 2                                                                         17b.   $_________________ ____
                                                                                                                                             0
      17c. Other. Specify:_________________________________ ______________                                    17c.   $_________________ ____
                                                                                                                                             0
      17d. Other. Specify:_________________________________ ______________                                    17d.   $_________________ ____

18.   Your payments of alimony, maintenance, and support that you did not report as deducted                                                 0
      from your pay on line 5, Schedule I, Your Income (Official Form 6I).                                     18.   $_____________________


19.   Other payments you make to support others who do not live with you.
                                                                                                               19.                      0
                                                                                                                     $_____________________
      Specify:_______________________________________________________

20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                        20a.
                                                                                                                                        0
                                                                                                                     $_____________________

      20b. Real estate taxes                                                                                  20b.   $_____________________
                                                                                                                                             0
      20c. Property, homeowner’s, or renter’s insurance                                                       20c.
                                                                                                                                        0
                                                                                                                     $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                           20d.
                                                                                                                                        0
                                                                                                                     $_____________________

      20e. Homeowner’s association or condominium dues                                                        20e.
                                                                                                                                        0
                                                                                                                     $_____________________



 Official Form     6J                                          Schedule J: Your Expenses                                                   page 2

                                        Case 15-20184              Doc# 1      Filed 02/04/15        Page 31 of 62
 Debtor 1         Mark H. Engen
                 _______________________________________________________                      Case number (if known)_____________________________________
                 First Name    Middle Name       Last Name




                                                                                                                                                0
21.    Other. Specify: ________________________________ _________________                                        21.   +$_____________________

22.    Your monthly expenses. Add lines 4 through 21.                                                                                  5,148
                                                                                                                        $_____________________
       The result is your monthly expenses.                                                                      22.




23. Calculate your monthly net income.
                                                                                                                                           8,914
                                                                                                                         $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                       23a.

      23b.   Copy your monthly expenses from line 22 above.                                                     23b.                    5,148
                                                                                                                       – $_____________________
      23c.   Subtract your monthly expenses from your monthly income.                                                                      3,766
                                                                                                                         $_____________________
             The result is your monthly net income.                                                             23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      X   No.
          Yes.     Explain here:




 Official Form     6J                                        Schedule J: Your Expenses                                                        page 3

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                                                                                                                                                            B6 Summary (Official Form 6 - Summary) (12/14)




                                                                                                                                                                                                 United States Bankruptcy Court
                                                                                                                                                                                                                  District of Kansas
                                                                                                                                                                        Mark H. Engen & Maureen E. Engen
                                                                                                                                                           In re                                                                                        Case No.
                                                                                                                                                                                                            Debtor
                                                                                                                                                                                                                                                        Chapter        13

                                                                                                                                                                                                           SUMMARY OF SCHEDULES
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                                                                                                                                                      Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F,
                                                                                                                                                      I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all
                                                                                                                                                      claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must also complete the “Statistical
                                                                                                                                                      Summary of Certain Liabilities and Related Data” if they file a case under chapter 7, 11, or 13.
                                                                                                                                                                                                                 AMOUNTS SCHEDULED
                                                                                                                                                                                                     ATTACHED
                                                                                                                                                        NAME OF SCHEDULE                              (YES/NO)       NO. OF SHEETS             ASSETS               LIABILITIES            OTHER

                                                                                                                                                        A – Real Property
                                                                                                                                                                                                     YES                     1            $       165,000

                                                                                                                                                        B – Personal Property
                                                                                                                                                                                                     YES                     3            $        45,617

                                                                                                                                                        C – Property Claimed
                                                                                                                                                            as exempt                                YES                     1

                                                                                                                                                        D – Creditors Holding
                                                                                                                                                           Secured Claims                            YES                     2                                  $       220,291

                                                                                                                                                        E - Creditors Holding Unsecured
                                                                                                                                                            Priority Claims                          YES                     3                                  $         32,673
                                                                                                                                                           (Total of Claims on Schedule E)
                                                                                                                                                        F - Creditors Holding Unsecured
                                                                                                                                                            Nonpriority Claims                       YES                     7                                  $         87,466

                                                                                                                                                        G - Executory Contracts and
                                                                                                                                                            Unexpired Leases                         YES                     1

                                                                                                                                                        H - Codebtors
                                                                                                                                                                                                     YES                     1

                                                                                                                                                        I - Current Income of
                                                                                                                                                            Individual Debtor(s)                     YES                     2                                                        $         8,914

                                                                                                                                                        J - Current Expenditures of Individual
                                                                                                                                                            Debtors(s)                               YES                     3                                                        $         5,148


                                                                                                                                                                                             TOTAL                           24           $       210,617       $       340,430




                                                                                                                                                                                       Case 15-20184             Doc# 1      Filed 02/04/15          Page 33 of 62
                                                                                                                                                        Official Form 6 - Statistical Summary (12/14)

                                                                                                                                                                                            United States Bankruptcy Court
                                                                                                                                                                                                                        District of Kansas

                                                                                                                                                                   In re      Mark H. Engen & Maureen E. Engen                                          Case No.
                                                                                                                                                                                                             Debtor
                                                                                                                                                                                                                                                        Chapter        13

                                                                                                                                                      STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)

                                                                                                                                                           If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
                                                                                                                                                      §101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

                                                                                                                                                            Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
                                                                                                                                                      information here.
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                                                                                                                                                      This information is for statistical purposes only under 28 U.S.C. § 159.

                                                                                                                                                      Summarize the following types of liabilities, as reported in the Schedules, and total them.



                                                                                                                                                         Type of Liability                                                             Amount
                                                                                                                                                         Domestic Support Obligations (from Schedule E)                               $
                                                                                                                                                                                                                                                    0
                                                                                                                                                         Taxes and Certain Other Debts Owed to Governmental Units (from
                                                                                                                                                                                                                                      $
                                                                                                                                                         Schedule E)
                                                                                                                                                                                                                                             32,673
                                                                                                                                                         Claims for Death or Personal Injury While Debtor Was Intoxicated (from       $
                                                                                                                                                         Schedule E) (whether disputed or undisputed)
                                                                                                                                                                                                                                                    0
                                                                                                                                                         Student Loan Obligations (from Schedule F)                                   $
                                                                                                                                                                                                                                                    0
                                                                                                                                                         Domestic Support, Separation Agreement, and Divorce Decree                   $
                                                                                                                                                         Obligations Not Reported on Schedule E                                                     0
                                                                                                                                                         Obligations to Pension or Profit-Sharing, and Other Similar Obligations      $
                                                                                                                                                         (from Schedule F)                                                                          0

                                                                                                                                                                                                                            TOTAL     $      32,673


                                                                                                                                                        State the Following:
                                                                                                                                                         Average Income (from Schedule I, Line 12)                                    $         8,914
                                                                                                                                                         Average Expenses (from Schedule J, Line 22)                                  $
                                                                                                                                                                                                                                                5,148
                                                                                                                                                         Current Monthly Income (from Form 22A-1 Line 11; OR, Form
                                                                                                                                                         22B Line 14; OR, Form 22C-1 Line 14 )                                        $
                                                                                                                                                                                                                                             12,281



                                                                                                                                                        State the Following:
                                                                                                                                                         1. Total from Schedule D, “UNSECURED PORTION, IF                                               $
                                                                                                                                                         ANY” column                                                                                                4,366

                                                                                                                                                         2. Total from Schedule E, “AMOUNT ENTITLED TO                                $
                                                                                                                                                         PRIORITY” column.                                                                   26,723

                                                                                                                                                         3. Total from Schedule E, “AMOUNT NOT ENTITLED TO                                              $
                                                                                                                                                         PRIORITY, IF ANY” column                                                                                   5,950

                                                                                                                                                         4. Total from Schedule F                                                                       $          87,466
                                                                                                                                                         5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                   $          97,782



                                                                                                                                                                                    Case 15-20184                Doc# 1            Filed 02/04/15       Page 34 of 62
                                                                                                                                                            B6 (Official Form 6 - Declaration) (12/07)

                                                                                                                                                                      Mark H. Engen & Maureen E. Engen
                                                                                                                                                            In re                                                                                                                                        Case No.
                                                                                                                                                                                                   Debtor                                                                                                                                   (If known)

                                                                                                                                                                                            DECLARATION CONCERNING DEBTOR'S SCHEDULES
                                                                                                                                                                                                           DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                                                                                                                                                                                                                                26
                                                                                                                                                                       I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _______ sheets, and that they
                                                                                                                                                            are true and correct to the best of my knowledge, information, and belief.
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                                                                                                                                                             Date       1/24/2015                                                                                                 Signature:          /s/ Mark H. Engen
                                                                                                                                                                                                                                                                                                                                     Debtor


                                                                                                                                                             Date       1/24/2015                                                                                                 Signature:          /s/ Maureen E. Engen
                                                                                                                                                                                                                                                                                                                            (Joint Debtor, if any)

                                                                                                                                                                                                                                                                                         [If joint case, both spouses must sign.]
                                                                                                                                                         -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
                                                                                                                                                                                     DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                                                                                                           I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                                                                                       compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                                                                                       110(h) and 342(b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable
                                                                                                                                                       by bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or
                                                                                                                                                       accepting any fee from the debtor, as required by that section.


                                                                                                                                                       Printed or Typed Name and Title, if any,                                                                                             Social Security No.
                                                                                                                                                       of Bankruptcy Petition Preparer                                                                                                 (Required by 11 U.S.C. § 110.)

                                                                                                                                                        If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or partner
                                                                                                                                                        who signs this document.




                                                                                                                                                        Address

                                                                                                                                                        X
                                                                                                                                                                             Signature of Bankruptcy Petition Preparer                                                                                                      Date

                                                                                                                                                      Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer is not an individual:



                                                                                                                                                      If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


                                                                                                                                                      A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110;
                                                                                                                                                      18 U.S.C. § 156.
                                                                                                                                                      -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------


                                                                                                                                                                           DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP


                                                                                                                                                            I, the __________________________________ [the president or other officer or an authorized agent of the corporation or a member
                                                                                                                                                      or an authorized agent of the partnership ] of the ___________________________________ [corporation or partnership] named as debtor
                                                                                                                                                      in this case, declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _______sheets (total
                                                                                                                                                      shown on summary page plus 1),and that they are true and correct to the best of my knowledge, information, and belief.


                                                                                                                                                      Date                                                                                                                 Signature:


                                                                                                                                                                                                                                                                                            [Print or type name of individual signing on behalf of debtor.]
                                                                                                                                                                                       [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
                                                                                                                                                                                             Case 15-20184                            Doc# 1                Filed 02/04/15                        Page 35 of 62
                                                                                                                                                       -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
                                                                                                                                                              Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
                                                                                                                                                      B7 (Official Form 7) (04/13)
                                                                                                                                                                                                    UNITED STATES BANKRUPTCY COURT
                                                                                                                                                                                                                        District of Kansas

                                                                                                                                                        In Re Mark H. Engen & Maureen E. Engen                                                                 Case No.
                                                                                                                                                                                                                                                                                (if known)


                                                                                                                                                                                                           STATEMENT OF FINANCIAL AFFAIRS

                                                                                                                                                                          This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which
                                                                                                                                                                the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish
                                                                                                                                                                information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                                                                                                                                                                filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed professional, should
                                                                                                                                                                provide the information requested on this statement concerning all such activities as well as the individual's personal affairs. To
                                                                                                                                                                indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's parent
                                                                                                                                                                or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed.
                                                                                                                                                                R. Bankr. P. 1007(m).
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                                                                                                                                                                          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also
                                                                                                                                                                must complete Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional
                                                                                                                                                                space is needed for the answer to any question, use and attach a separate sheet properly identified with the case name, case number
                                                                                                                                                                (if known), and the number of the question.

                                                                                                                                                                DEFINITIONS

                                                                                                                                                                           "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An
                                                                                                                                                                individual debtor is "in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding
                                                                                                                                                                the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5 percent or more of
                                                                                                                                                                the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or self-
                                                                                                                                                                employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this form if the debtor engages
                                                                                                                                                                in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.

                                                                                                                                                                           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and
                                                                                                                                                                their relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in
                                                                                                                                                                control of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
                                                                                                                                                                the debtor. 11 U.S.C. § 101(2), (31).



                                                                                                                                                                           1. Income from employment or operation of business

                                                                                                                                                                           State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
                                                                                                                                                                           the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
                                                                                                                                                               None        beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
                                                                                                                                                                           two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
                                                                                                                                                                           the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
                                                                                                                                                                           of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                                                                                                                           under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
                                                                                                                                                                           spouses are separated and a joint petition is not filed.)

                                                                                                                                                                                     AMOUNT                                              SOURCE

                                                                                                                                                                   2015(db)            5200      employment

                                                                                                                                                                   2014(db)           64752      employment

                                                                                                                                                                   2013(db)           60711      employment



                                                                                                                                                                   2015(jdb)           7040      employment

                                                                                                                                                                   2014(jdb)          85742      employment

                                                                                                                                                                   2013(jdb)          85742      employment




                                                                                                                                                                                      Case 15-20184              Doc# 1         Filed 02/04/15            Page 36 of 62
                                                                                                                                                      B7 (Official Form 7) (04/13)                                                                                                                 2




                                                                                                                                                                 2.   Income other than from employment or operation of business

                                                                                                                                                      None             State the amount of income received by the debtor other than from employment, trade, profession, or operation
                                                                                                                                                                 of the debtor's business during the two years immediately preceding the commencement of this case. Give
                                                                                                                                                                 particulars. If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter
                                                                                                                                                                 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless the spouses are
                                                                                                                                                                 separated and a joint petition is not filed.)

                                                                                                                                                                  AMOUNT                                                                SOURCE

                                                                                                                                                          2013 (db)                  2000        Quintiles study

                                                                                                                                                          (db)
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                                                                                                                                                                 3. Payments to creditors
                                                                                                                                                      None

                                                                                                                                                                 Complete a. or b., as appropriate, and c.
                                                                                                                                                                 a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of
                                                                                                                                                                 goods or services, and other debts to any creditor made within 90 days immediately preceding the commencement of
                                                                                                                                                                 this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $600.
                                                                                                                                                                 Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation
                                                                                                                                                                 or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and creditor
                                                                                                                                                                 counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
                                                                                                                                                                 spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                                                                      NAME AND ADDRESS OF CREDITOR                                   DATES OF                              AMOUNT               AMOUNT STILL
                                                                                                                                                                                                                     PAYMENTS                                PAID                  OWING




                                                                                                                                                      None       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made
                                                                                                                                                                 within 90 days immediately preceding the commencement of the case unless the aggregate value of all property that
                                                                                                                                                                 constitutes or is affected by such transfer is less than $5,475. If the debtor is an individual, indicate with an asterisk
                                                                                                                                                                 (*)any payments that were made to a creditor on account of a domestic support obligation or as part of an
                                                                                                                                                                 alternativerepayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency.
                                                                                                                                                                 (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both
                                                                                                                                                                 spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                                                                                                      *Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after date of adjustment.
                                                                                                                                                      NAME AND ADDRESS OF CREDITOR                                   DATES OF                              AMOUNT               AMOUNT STILL
                                                                                                                                                       AND RELATIONSHIP TO DEBTOR                                    PAYMENTS                                PAID                  OWING




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                                                                                                                                                      None

                                                                                                                                                                 c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or
                                                                                                                                                                 for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must
                                                                                                                                                                 include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                                                                                 and a joint petition is not filed.)


                                                                                                                                                       NAME AND ADDRESS OF CREDITOR                                 DATES OF                        AMOUNT PAID             AMOUNT STILL
                                                                                                                                                        AND RELATIONSHIP TO DEBTOR                                  PAYMENTS                                                   OWING


                                                                                                                                                                 4. Suits and administrative proceedings, executions, garnishments and attachments
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                                                                                                                                                      None       a.    List all suits and administrative proceedings to which the debtor is or was a party within one year immediately
                                                                                                                                                                 preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                                                                                                 information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                                                                                 and a joint petition is not filed.)


                                                                                                                                                       CAPTION OF SUIT                   NATURE OF PROCEEDING                            COURT OR                                STATUS OR
                                                                                                                                                      AND CASE NUMBER                                                               AGENCY AND LOCATION                          DISPOSITION

                                                                                                                                                      BMO Harris Bank NA              foreclosure                                     District Court of Johnson              pending
                                                                                                                                                      v. Engen, et al                                                                 County, KS
                                                                                                                                                      Case No. 14CV07221


                                                                                                                                                      None       b.     Describe all property that has been attached, garnished or seized under any legal or equitable process within
                                                                                                                                                                 one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter
                                                                                                                                                                 13 must include information concerning property of either or both spouses whether or not a joint petition is filed,
                                                                                                                                                                 unless the spouses are separated and a joint petition is not filed.)


                                                                                                                                                         NAME AND ADDRESS OF                                           DATE OF                                        DESCRIPTION AND
                                                                                                                                                       PERSON FOR WHOSE BENEFIT                                        SEIZURE                                       VALUE OF PROPERTY
                                                                                                                                                         PROPERTY WAS SEIZED


                                                                                                                                                                 5.   Repossessions, foreclosures and returns

                                                                                                                                                      None             List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in
                                                                                                                                                                 lieu of foreclosure or returned to the seller, within one year immediately preceding the commencement of this case.
                                                                                                                                                                 (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or
                                                                                                                                                                 both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                                                                          NAME AND                                    DATE OF REPOSESSION,                                            DESCRIPTION AND
                                                                                                                                                         ADDRESS OF                                    FORECLOSURE SALE,                                             VALUE OF PROPERTY
                                                                                                                                                      CREDITOR OR SELLER                              TRANSFER OR RETURN




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                                                                                                                                                                 6. Assignments and Receiverships

                                                                                                                                                      None       a.     Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding
                                                                                                                                                                 the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any
                                                                                                                                                                 assignment by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                                                                                                                 joint petition is not filed.)


                                                                                                                                                               NAME AND                                      DATE OF ASSIGNMENT                                  TERMS OF
                                                                                                                                                              ADDRESS OF                                                                                        ASSIGNMENT
                                                                                                                                                                ASSIGNEE                                                                                       OR SETTLEMENT
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                                                                                                                                                      None       b.     List all property which has been in the hands of a custodian, receiver, or court-appointed official within one
                                                                                                                                                                 year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
                                                                                                                                                                 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless
                                                                                                                                                                 the spouses are separated and a joint petition is not filed.)


                                                                                                                                                               NAME AND                            NAME AND LOCATION                            DATE OF                DESCRIPTION AND
                                                                                                                                                              ADDRESS OF                           OF COURT CASE TITLE                           ORDER                VALUE OF PROPERTY
                                                                                                                                                              CUSTODIAN                                 & NUMBER



                                                                                                                                                                 7.   Gifts

                                                                                                                                                      None            List all gifts or charitable contributions made within one year immediately preceding the commencement of this
                                                                                                                                                                 case, except ordinary and usual gifts to family members aggregating less than $200 in value per individual family
                                                                                                                                                                 member and charitable contributions aggregating less than $100 per recipient. (Married debtors filing under chapter
                                                                                                                                                                 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed,
                                                                                                                                                                 unless the spouses are separated and a joint petition is not filed.)


                                                                                                                                                             NAME AND                               RELATIONSHIP                          DATE OF                  DESCRIPTION AND
                                                                                                                                                            ADDRESS OF                            TO DEBTOR, IF ANY                         GIFT                    VALUE OF GIFT
                                                                                                                                                      PERSON OR ORGANIZATION


                                                                                                                                                                 8.   Losses

                                                                                                                                                      None                List all losses from fire, theft, other casualty or gambling within one year immediately preceding the
                                                                                                                                                                 commencement of this case or since the commencement of this case. (Married debtors filing under chapter 12 or
                                                                                                                                                                 chapter 13 must include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are
                                                                                                                                                                 separated and a joint petition is not filed.)


                                                                                                                                                          DESCRIPTION                              DESCRIPTION OF CIRCUMSTANCES, AND, IF LOSS                                DATE OF
                                                                                                                                                           AND VALUE                                  WAS COVERED IN WHOLE OR IN PART BY                                      LOSS
                                                                                                                                                          OF PROPERTY                                     INSURANCE, GIVE PARTICULARS




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                                                                                                                                                                 9.   Payments related to debt counseling or bankruptcy

                                                                                                                                                      None            List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys,
                                                                                                                                                                 for consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in
                                                                                                                                                                 bankruptcy within one year immediately preceding the commencement of this case.


                                                                                                                                                                  NAME AND ADDRESS                         DATE OF PAYMENT,                              AMOUNT OF MONEY OR
                                                                                                                                                                      OF PAYEE                             NAME OF PAYOR IF                                DESCRIPTION AND
                                                                                                                                                                                                          OTHER THAN DEBTOR                               VALUE OF PROPERTY

                                                                                                                                                      Teresa Kidd                                   12/2014                                         Filing Fee: $310
                                                                                                                                                      8700 Monrovia, Suite 310                                                                      Credit Report: $75
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                                                                                                                                                      Lenexa, KS 66215                                                                              Attorney fee: $615

                                                                                                                                                      Money Management International                monthly                                         $18876 in 2014
                                                                                                                                                      14141 Southwest Freeway, Suite
                                                                                                                                                      1000
                                                                                                                                                      Sugar Land, TX 77478


                                                                                                                                                                 10. Other transfers

                                                                                                                                                      None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs
                                                                                                                                                                 of the debtor, transferred either absolutely or as security within two years immediately preceding the commencement
                                                                                                                                                                 of this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses
                                                                                                                                                                 whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                                                                          NAME AND ADDRESS OF TRANSFEREE,                                     DATE                            DESCRIBE PROPERTY
                                                                                                                                                              RELATIONSHIP TO DEBTOR                                                                           TRANSFERRED AND
                                                                                                                                                                                                                                                                VALUE RECEIVED


                                                                                                                                                                 b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case
                                                                                                                                                                 to a self-settled trust or similar device of which the debtor is a beneficiary.
                                                                                                                                                      None

                                                                                                                                                             NAME OF TRUST OR OTHER DEVICE                                 DATE(S) OF                     AMOUNT OF MONEY OR
                                                                                                                                                                                                                          TRANSFER(S)                       DESCRIPTION AND
                                                                                                                                                                                                                                                         VALUE OF PROPERTY OR
                                                                                                                                                                                                                                                      DEBTOR'S INTEREST IN PROPERTY




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                                                                                                                                                                 11. Closed financial accounts

                                                                                                                                                      None             List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which
                                                                                                                                                                 were closed, sold, or otherwise transferred within one year immediately preceding the commencement of this case.
                                                                                                                                                                 Include checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and share
                                                                                                                                                                 accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
                                                                                                                                                                 institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or
                                                                                                                                                                 instruments held by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                                                                                 and a joint petition is not filed.)


                                                                                                                                                               NAME AND                             TYPE OF ACCOUNT, LAST FOUR                                        AMOUNT AND
                                                                                                                                                              ADDRESS OF                            DIGITS OF ACCOUNT NUMBER,                                         DATE OF SALE
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                                                                                                                                                              INSTITUTION                          AND AMOUNT OF FINAL BALANCE                                         OR CLOSING


                                                                                                                                                                 12. Safe deposit boxes

                                                                                                                                                      None                List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other
                                                                                                                                                                 valuables within one year immediately preceding the commencement of this case. (Married debtors filing under
                                                                                                                                                                 chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether or not a joint petition
                                                                                                                                                                 is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                                                                                  NAME AND                        NAMES AND ADDRESSES OF                   DESCRIPTION OF               DATE OF
                                                                                                                                                               ADDRESS OF BANK                   THOSE WITH ACCESS TO BOX                    CONTENTS                 TRANSFER OR
                                                                                                                                                             OR OTHER DEPOSITORY                      OR DEPOSITORY                                                 SURRENDER, IF ANY


                                                                                                                                                                 13. Setoffs

                                                                                                                                                      None              List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days
                                                                                                                                                                 preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                                                                                                 information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                                                                                 and a joint petition is not filed.)


                                                                                                                                                             NAME AND ADDRESS OF CREDITOR                                    DATE                                  AMOUNT
                                                                                                                                                                                                                              OF                                      OF
                                                                                                                                                                                                                            SETOFF                                  SETOFF

                                                                                                                                                                 14. Property held for another person

                                                                                                                                                      None            List all property owned by another person that the debtor holds or controls.


                                                                                                                                                                 NAME AND                                DESCRIPTION AND                               LOCATION OF PROPERTY
                                                                                                                                                              ADDRESS OF OWNER                          VALUE OF PROPERTY




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                                                                                                                                                                 15. Prior address of debtor
                                                                                                                                                      None
                                                                                                                                                                        If the debtor has moved within the three years immediately preceding the commencement of this case, list all
                                                                                                                                                                 premises which the debtor occupied during that period and vacated prior to the commencement of this case. If a
                                                                                                                                                                 joint petition is filed, report also any separate address of either spouse.


                                                                                                                                                               ADDRESS                                           NAME USED                                   DATES OF OCCUPANCY



                                                                                                                                                                 16. Spouses and Former Spouses
                                                                                                                                                      None
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                                                                                                                                                                     If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska,
                                                                                                                                                                 Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within
                                                                                                                                                                 eight years immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of
                                                                                                                                                                 any former spouse who resides or resided with the debtor in the community property state.


                                                                                                                                                                               NAME


                                                                                                                                                                 17. Environmental Sites

                                                                                                                                                                 For the purpose of this question, the following definitions apply:

                                                                                                                                                                 "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
                                                                                                                                                                 releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or
                                                                                                                                                                 other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances,
                                                                                                                                                                 wastes, or material.

                                                                                                                                                                            "Site" means any location, facility, or property as defined under any Environmental Law, whether or not
                                                                                                                                                                            presently or formerly owned or operated by the debtor, including, but not limited to, disposal sites.

                                                                                                                                                                            "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance,
                                                                                                                                                                            hazardous material, pollutant, or contaminant or similar term under an Environmental Law


                                                                                                                                                      None
                                                                                                                                                                 a.    List the name and address of every site for which the debtor has received notice in writing by a governmental
                                                                                                                                                                 unit that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the
                                                                                                                                                                 governmental unit, the date of the notice, and, if known, the Environmental Law:


                                                                                                                                                              SITE NAME                           NAME AND ADDRESS                         DATE OF                 ENVIRONMENTAL
                                                                                                                                                             AND ADDRESS                        OF GOVERNMENTAL UNIT                       NOTICE                       LAW


                                                                                                                                                                 b.   List the name and address of every site for which the debtor provided notice to a governmental unit of a release
                                                                                                                                                                 of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.
                                                                                                                                                      None

                                                                                                                                                              SITE NAME                           NAME AND ADDRESS                         DATE OF                 ENVIRONMENTAL
                                                                                                                                                             AND ADDRESS                        OF GOVERNMENTAL UNIT                       NOTICE                       LAW




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                                                                                                                                                                 c.    List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law
                                                                                                                                                                 with respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or
                                                                                                                                                      None       was a party to the proceeding, and the docket number.


                                                                                                                                                                NAME AND ADDRESS                                  DOCKET NUMBER                              STATUS OR DISPOSITION
                                                                                                                                                              OF GOVERNMENTAL UNIT


                                                                                                                                                                 18. Nature, location and name of business

                                                                                                                                                      None       a.       If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the
                                                                                                                                                                 businesses, and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or
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                                                                                                                                                                 managing executive of a corporation, partnership, sole proprietorship, or was self-employed in a trade, profession, or
                                                                                                                                                                 other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
                                                                                                                                                                 which the debtor owned 5 percent or more of the voting or equity securities within the six years immediately
                                                                                                                                                                 preceding the commencement of this case.

                                                                                                                                                                 If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and
                                                                                                                                                                 beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the
                                                                                                                                                                 voting or equity securities, within the six years immediately preceding the commencement of this case.

                                                                                                                                                                 If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and
                                                                                                                                                                 beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the
                                                                                                                                                                 voting or equity securities within the six years immediately preceding the commencement of this case.

                                                                                                                                                        NAME              LAST FOUR DIGITS OF                    ADDRESS                 NATURE OF BUSINESS BEGINNING AND
                                                                                                                                                                          SOCIAL-SECURITY OR                                                                ENDING DATES
                                                                                                                                                                           OTHER INDIVIDUAL
                                                                                                                                                                            TAXPAYER-I.D. NO.
                                                                                                                                                                          (ITIN)/ COMPLETE EIN


                                                                                                                                                                 b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11
                                                                                                                                                                 U.S.C. § 101.
                                                                                                                                                      None

                                                                                                                                                                 NAME                                                                                ADDRESS




                                                                                                                                                                              [Questions 19 - 25 are not applicable to this case]
                                                                                                                                                                                                   *    *    *    *   *    *




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                                                                                                                                                                   [If completed by an individual or individual and spouse]

                                                                                                                                                                   I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
                                                                                                                                                                   thereto and that they are true and correct.
                                                                                                                                                                  1/24/2015                                                                                      /s/ Mark H. Engen
                                                                                                                                                      Date                                                                            Signature
                                                                                                                                                                                                                                      of Debtor                  MARK H. ENGEN

                                                                                                                                                      Date        1/24/2015                                                           Signature                  /s/ Maureen E. Engen
                                                                                                                                                                                                                                      of Joint Debtor            MAUREEN E. ENGEN

                                                                                                                                                                                                                             0 continuation sheets attached
                                                                                                                                                                                                                           _____
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                                                                                                                                                                          Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §152 and 3571




                                                                                                                                                                              DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
                                                                                                                                                           I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                                                                                      compensation and have provided the debtor with a copy of this document and the notices and required under 11U.S.C. §§ 110(b), 110(h), and 342(b); (3) if
                                                                                                                                                      rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable by bankruptcy petition preparers, I
                                                                                                                                                      have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting any fee from the debtor, as required
                                                                                                                                                      in that section.




                                                                                                                                                      Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                       Social Security No. (Required by 11 U.S.C. § 110(c).)
                                                                                                                                                      If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or
                                                                                                                                                      partner who signs this document.




                                                                                                                                                      Address

                                                                                                                                                      X
                                                                                                                                                      Signature of Bankruptcy Petition Preparer                                                                                     Date

                                                                                                                                                      Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document unless the bankruptcy petition preparer is
                                                                                                                                                      not an individual:

                                                                                                                                                      If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


                                                                                                                                                      A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines
                                                                                                                                                      or imprisonment or both. 18 U.S.C. §156.




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AFFILIATED MANAGEMEN
7219 METCALF SUITE 202
OVERLAND PARK, KS 66204-0947


BBY/CBNA
50 NORTHWEST POINT ROAD
ELK GROVE VILLAGE, IL 60007


Best Buy Credit Services
P.O. Box 790441
St. Louis, MO 63179



BMO Harris Bank NA
c/o South & Associates
6363 College Blvd. Suite 100
Overland Park, KS 66211


BMO HARRIS TRUST& SAVI
111 W MONROE ST
CHICAGO, IL 60603


CAP ONE
PO BOX 85520
RICHMOND, VA 23285


CBE Group
P.O. Box 930
Waterloo, IA   50704-0930


CCS/FIRST NATIONAL BAN
500 E 60TH ST N
SIOUX FALLS, SD 57104


CHASE
PO BOX 15298
WILMINGTON, DE 19850


CITI
PO BOX 6241
SIOUX FALLS, SD 57117




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CONSUMER COLLECTION MN
2333 GRISSOM DR
SAINT LOUIS, MO 63146


CREDIT ONE BANK NA
PO BOX 98875
LAS VEGAS, NV 89193


DEPT OF ED/NAVIENT
PO BOX 9635
WILKES BARRE, PA 18773


DISCOVER FIN SVCS LLC
PO BOX 15316
WILMINGTON, DE 19850


First National Credit Card
P.O. Box 5097
Sioux Falls, SD 57117-5097


FNB OMAHA
1620 DODGE ST
OMAHA, NE 68197


Internal Revenue Service
P.O. Box 7346
Philadelphia, PA 19101-7346


KANSAS COUNSELORS OF K
PO BOX 14765
SHAWNEE MISSION, KS 66285


Kansas Dept. of Revenue
915 SW Harrison St.
Topeka, KS 66699-1000


Kia Motors Finance
P.O. Box 105299
Atlanta, GA 30348




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KOHLS/CAPONE
N56 W 17000 RIDGEWOOD DR
MENOMONEE FALLS, WI 53051


MNET FIN INC
95 ARGONAUT STE 250
ALISO VIEJO, CA 92656


Mobiloans
151 Melacon Drive
Marksville, LA 71315


OCWEN LOAN SERVICING L
12650 INGENUITY DR
ORLANDO, FL 32826


OPTIMA RECOVERY SERVIC
6215 KINGSTON PK STE A
KNOXVILLE, TN 37919


SEARS/CBNA
PO BOX 6282
SIOUX FALLS, SD 57117


SPRINGLEAF
PO BOX 64
EVANSVILLE, IN 47701


STATE FARM FINANCIAL S
3 STATE FARM PLAZA N-4
BLOOMINGTON, IL 61791


SYNCB/CARE CREDIT
950 FORRER BLVD
KETTERING, OH 45420


SYNCB/JCP
PO BOX 965007
ORLANDO, FL 32896




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SYNCB/OLD NAVY
PO BOX 965005
ORLANDO, FL 32896


SYNCB/PHILLIPS 66
4125 WINDWARD PLZ
ALPHARETTA, GA 30005


SYNCB/QVC
PO BOX 965018
ORLANDO, FL 32896


TD BANK USA/TARGETCRED
PO BOX 673
MINNEAPOLIS, MN 55440


VON MAUR
6565 BRADY ST
DAVENPORT, IA 52806-2054




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                                         UNITED STATES BANKRUPTCY COURT
                                                   District of Kansas


 In re     Mark H. Engen & Maureen E. Engen                         ,
                                         Debtor                                   Case No.

                                                                                                13
                                                                                  Chapter



                                         VERIFICATION OF LIST OF CREDITORS


         I hereby certify under penalty of perjury that the attached List of Creditors which consists of 4 pages, is true, correct

 and complete to the best of my knowledge.



             1/24/2015                                                          /s/ Mark H. Engen
 Date                                                       Signature
                                                            of Debtor           MARK H. ENGEN

 Date        1/24/2015                                      Signature           /s/ Maureen E. Engen
                                                            of Joint Debtor     MAUREEN E. ENGEN




      Teresa Kidd
8700 Monrovia, Suite 310
   Lenexa, KS 66215
     913-422-0610



                                 Case 15-20184            Doc# 1        Filed 02/04/15          Page 49 of 62
                                                                                                                                                      B203
                                                                                                                                                      12/94
                                                                                                                                                                                                United States Bankruptcy Court
                                                                                                                                                                                                                           District of Kansas
                                                                                                                                                              In re Mark H. Engen & Maureen E. Engen                                                    Case No. ____________________
                                                                                                                                                                                                                                                        Chapter           13
                                                                                                                                                                                                                                                                     ____________________
                                                                                                                                                              Debtor(s)
                                                                                                                                                                               DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

                                                                                                                                                      1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s)
                                                                                                                                                              and that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services
                                                                                                                                                              rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follow s:

                                                                                                                                                                                                                                                              3,600
                                                                                                                                                              For legal services, I have agreed to accept .............................……………………….... $ ______________
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                                                                                                                                                                                                                                                                   615
                                                                                                                                                              Prior to the filing of this statement I have received ..........…………………................... $ ______________

                                                                                                                                                                                                                                                             2,985
                                                                                                                                                              Balance Due ......................................……………………………………….................... $ ______________

                                                                                                                                                      2.      The source of compensation paid to me was:

                                                                                                                                                                               Debtor                   Other (specify)
                                                                                                                                                      3.      The source of compensation to be paid to me is:
                                                                                                                                                                               Debtor                   Other (specify)

                                                                                                                                                      4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and
                                                                                                                                                      associates of my law firm.

                                                                                                                                                                 I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates
                                                                                                                                                      of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

                                                                                                                                                      5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
                                                                                                                                                               a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
                                                                                                                                                               b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
                                                                                                                                                               c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;




                                                                                                                                                       6.       By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                                                                                                                                                                                                 CERTIFICATION

                                                                                                                                                                      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the
                                                                                                                                                                   debtor(s) in the bankruptcy proceeding.

                                                                                                                                                                      1/24/2015                                                           /s/ Teresa Kidd
                                                                                                                                                                   ____________________________________                                 __________________________________________________
                                                                                                                                                                                  Date                                                                    Signature of Attorney

                                                                                                                                                                                                                                        __________________________________________________
                                                                                                                                                                                                                                                         Name of law firm
                                                                                                                                                                                         Case 15-20184                 Doc# 1         Filed 02/04/15              Page 50 of 62
                                                                                                                                                        Fill in this information to identify your case:                                                               Check as directed in lines 17 and 21:
                                                                                                                                                                                                                                                                      According to the calculations required by
                                                                                                                                                        Debtor 1            Mark H. Engen
                                                                                                                                                                          __________________________________________________________________
                                                                                                                                                                            First Name             Middle Name             Last Name
                                                                                                                                                                                                                                                                      this Statement:

                                                                                                                                                        Debtor 2            Maureen E. Engen
                                                                                                                                                                            ________________________________________________________________                              1. Disposable income is not determined
                                                                                                                                                        (Spouse, if filing) First Name             Middle Name             Last Name                                         under 11 U.S.C. § 1325(b)(3).

                                                                                                                                                                                                                                     KS
                                                                                                                                                        United States Bankruptcy Court for the: ______________________ District of __________
                                                                                                                                                                                                                                                                      X   2. Disposable income is determined
                                                                                                                                                                                                                                       (State)                               under 11 U.S.C. § 1325(b)(3).
                                                                                                                                                        Case number         ___________________________________________
                                                                                                                                                        (If known)                                                                                                        3. The commitment period is 3 years.
                                                                                                                                                                                                                                                                      X   4. The commitment period is 5 years.

                                                                                                                                                                                                                                                                          Check if this is an amended filing

                                                                                                                                                      Official Form 22C–1
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                                                                                                                                                      Chapter 13 Statement of Your Current Monthly Income
                                                                                                                                                      and Calculation of Commitment Period                                                                                                            12/14

                                                                                                                                                      Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If
                                                                                                                                                      more space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the
                                                                                                                                                      top of any additional pages, write your name and case number (if known).


                                                                                                                                                      Part 1:          Calculate Your Average Monthly Income

                                                                                                                                                      1. What is your marital and filing status? Check one only.
                                                                                                                                                               Not married. Fill out Column A, lines 2-11.
                                                                                                                                                          X     Married. Fill out both Columns A and B, lines 2-11.

                                                                                                                                                         Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
                                                                                                                                                         bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
                                                                                                                                                         August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in
                                                                                                                                                         the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the income
                                                                                                                                                         from that property in one column only. If you have nothing to report for any line, write $0 in the space.

                                                                                                                                                                                                                                                        Column A              Column B
                                                                                                                                                                                                                                                        Debtor 1              Debtor 2 or
                                                                                                                                                                                                                                                                              non-filing spouse

                                                                                                                                                      2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
                                                                                                                                                                                                                                                               5,200
                                                                                                                                                                                                                                                        $____________                 7,040
                                                                                                                                                                                                                                                                                 $__________
                                                                                                                                                         payroll deductions).

                                                                                                                                                      3. Alimony and maintenance payments. Do not include payments from a spouse if
                                                                                                                                                                                                                                                                   0
                                                                                                                                                                                                                                                        $____________                     0
                                                                                                                                                                                                                                                                                 $__________
                                                                                                                                                         Column B is filled in.
                                                                                                                                                      4. All amounts from any source which are regularly paid for household expenses of
                                                                                                                                                         you or your dependents, including child support. Include regular contributions from
                                                                                                                                                         an unmarried partner, members of your household, your dependents, parents, and
                                                                                                                                                         roommates. Include regular contributions from a spouse only if Column B is not filled
                                                                                                                                                         in. Do not include payments you listed on line 3.                                              $___________0                     0
                                                                                                                                                                                                                                                                                 $__________

                                                                                                                                                      5. Net income from operating a business, profession, or farm

                                                                                                                                                         Gross receipts (before all deductions)                                       0
                                                                                                                                                                                                                            $____________

                                                                                                                                                         Ordinary and necessary operating expenses                                    0
                                                                                                                                                                                                                          – $____________

                                                                                                                                                         Net monthly income from a business, profession, or farm                      0
                                                                                                                                                                                                                            $____________
                                                                                                                                                                                                                                                 Copy              0
                                                                                                                                                                                                                                                        $____________            $_________0
                                                                                                                                                                                                                                                 here


                                                                                                                                                      6. Net income from rental and other real property
                                                                                                                                                         Gross receipts (before all deductions)                                       0
                                                                                                                                                                                                                           $____________

                                                                                                                                                         Ordinary and necessary operating expenses                                 0
                                                                                                                                                                                                                      – $_____________
                                                                                                                                                                                                                                                 Copy
                                                                                                                                                         Net monthly income from rental or other real property                        0
                                                                                                                                                                                                                           $____________
                                                                                                                                                                                                                                                 here
                                                                                                                                                                                                                                                                   0
                                                                                                                                                                                                                                                        $____________                     0
                                                                                                                                                                                                                                                                                $__________


                                                                                                                                                       Official Form 22C–1               Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                           page 1


                                                                                                                                                                                             Case 15-20184            Doc# 1               Filed 02/04/15          Page 51 of 62
                                                                                                                                                       Debtor 1
                                                                                                                                                                             Mark H. Engen
                                                                                                                                                                            _______________________________________________________                                                                Case number (if known)_____________________________________
                                                                                                                                                                            First Name          Middle Name                  Last Name



                                                                                                                                                                                                                                                                                                Column A                             Column B
                                                                                                                                                                                                                                                                                                Debtor 1                             Debtor 2 or
                                                                                                                                                                                                                                                                                                                                     non-filing spouse

                                                                                                                                                      7. Interest, dividends, and royalties                                                                                                       $____________ 0                       $__________ 0

                                                                                                                                                      8. Unemployment compensation                                                                                                                $____________ 0                       $__________ 0

                                                                                                                                                           Do not enter the amount if you contend that the amount received was a benefit under
                                                                                                                                                           the Social Security Act. Instead, list it here: ..................................

                                                                                                                                                               For you .......................................................................                     0
                                                                                                                                                                                                                                                        $_____________
                                                                                                                                                               For your spouse .........................................................                           0
                                                                                                                                                                                                                                                        $_____________

                                                                                                                                                      9. Pension or retirement income. Do not include any amount received that was a
                                                                                                                                                           benefit under the Social Security Act.                                                                                                 $____________ 0                       $__________ 0
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                                                                                                                                                      10. Income from all other sources not listed above. Specify the source and amount.
                                                                                                                                                           Do not include any benefits received under the Social Security Act or payments
                                                                                                                                                           received as a victim of a war crime, a crime against humanity, or international or
                                                                                                                                                           domestic terrorism. If necessary, list other sources on a separate page and put the
                                                                                                                                                           total on line 10c.

                                                                                                                                                             10a. __________________________________________________________________
                                                                                                                                                                                                                                                                                                  $_____________0                      $___________
                                                                                                                                                                                                                                                                                                                                                              41

                                                                                                                                                                    (H), cell phone reimbursement from employer                                                                                   $_____________0                      $___________
                                                                                                                                                                                                                                                                                                                                                              0
                                                                                                                                                             10b. __________________________________________________________________

                                                                                                                                                              10c. Total amounts from separate pages, if any.                                                                                 + $____________0                      + $__________ 0
                                                                                                                                                      11. Calculate your total average monthly income. Add lines 2 through 10 for each
                                                                                                                                                           column. Then add the total for Column A to the total for Column B.                                                                              5,200
                                                                                                                                                                                                                                                                                                  $____________                +              7,081
                                                                                                                                                                                                                                                                                                                                       $___________                =      12,281
                                                                                                                                                                                                                                                                                                                                                                       $________
                                                                                                                                                                                                                                                                                                                                                                       Total average
                                                                                                                                                                                                                                                                                                                                                                       monthly income




                                                                                                                                                      Part 2:            Determine How to Measure Your Deductions from Income

                                                                                                                                                      12. Copy your total average monthly income from line 11. ................................ ................................ ................................ ..........................                              12,281
                                                                                                                                                                                                                                                                                                                                                                   $_____________
                                                                                                                                                      13. Calculate the marital adjustment. Check one:

                                                                                                                                                                You are not married. Fill in 0 in line 13d.
                                                                                                                                                           X    You are married and your spouse is filing with you. Fill in 0 in line 13d.
                                                                                                                                                                You are married and your spouse is not filing with you.
                                                                                                                                                                Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you
                                                                                                                                                                or your dependents, such as payment of the spouse’s tax liability or the spouse’s support of someone other than you or
                                                                                                                                                                your dependents.
                                                                                                                                                                 In lines 13a-c, specify the basis for excluding this income and the amount of income devoted to each purpose. If
                                                                                                                                                                 necessary, list additional adjustments on a separate page .

                                                                                                                                                                 If this adjustment does not apply, enter 0 on line 13d.
                                                                                                                                                                 13a. _______________________________________________________________________                                                         $___________
                                                                                                                                                                 13b. _______________________________________________________________________                                                         $___________
                                                                                                                                                                 13c. _______________________________________________________________________                                                      + $___________
                                                                                                                                                                 13d. Total .............................................................................................................                        0
                                                                                                                                                                                                                                                                                                      $___________                 Copy here.          13d.
                                                                                                                                                                                                                                                                                                                                                                              0
                                                                                                                                                                                                                                                                                                                                                                   ____________


                                                                                                                                                      14. Your current monthly income. Subtract line 13d from line 12.                                                                                                                                  14.                12,281
                                                                                                                                                                                                                                                                                                                                                                    $ __________


                                                                                                                                                      15. Calculate your current monthly income for the year. Follow these steps:
                                                                                                                                                                                                                                                                                                                                                                           12,281
                                                                                                                                                                                                                                                                                                                                                                   $ ____________
                                                                                                                                                           15a. Copy line 14 here                ..................................................................................................................................................... 15a.
                                                                                                                                                                   Multiply line 15a by 12 (the number of months in a year).                                                                                                                                       x 12
                                                                                                                                                           15b. The result is your current monthly income for the year for this part of the form.                                                                                                    15b.                147,372
                                                                                                                                                                                                                                                                                                                                                                   $___________


                                                                                                                                                       Official Form 22C–1                          Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                                   page 2

                                                                                                                                                                                                          Case 15-20184                             Doc# 1                 Filed 02/04/15                           Page 52 of 62
                                                                                                                                                       Debtor 1             Mark H. Engen
                                                                                                                                                                           _______________________________________________________                                                           Case number (if known)_____________________________________
                                                                                                                                                                           First Name          Middle Name                 Last Name




                                                                                                                                                      16. Calculate the median family income that applies to you. Follow these steps:

                                                                                                                                                           16a. Fill in the state in which you live.
                                                                                                                                                                                                                                                   Kansas
                                                                                                                                                                                                                                                  _________

                                                                                                                                                           16b. Fill in the number of people in your household.                                           5
                                                                                                                                                                                                                                                  _________


                                                                                                                                                            16c. Fill in the median family income for your state and size of household. ............................................................................ 16c.                                     82,904
                                                                                                                                                                                                                                                                                                                                                        $___________
                                                                                                                                                                   To find a list of applicable median income amounts, go online using the link specified in the separate
                                                                                                                                                                   instructions for this form. This list may also be available at the bankruptcy clerk’s office.

                                                                                                                                                      17. How do the lines compare?

                                                                                                                                                            17a.        Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under 11 U.S.C.
                                                                                                                                                                        § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Disposable Income (Official Form 22C–2).
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                                                                                                                                                            17b. X      Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under 11 U.S.C.
                                                                                                                                                                        § 1325(b)(3). Go to Part 3 and fill out Calculation of Disposable Income (Official Form 22C–2). On line 39 of that form, copy
                                                                                                                                                                        your current monthly income from line 14 above.

                                                                                                                                                      Part 3:             Calculate Your Commitment Period Under 11 U.S.C. §1325(b)(4)


                                                                                                                                                      18. Copy your total average monthly income from line 11. ................................ ................................ ................................ .......................... 18.             12,281
                                                                                                                                                                                                                                                                                                                                                        $__________
                                                                                                                                                      19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend
                                                                                                                                                           that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse’s
                                                                                                                                                           income, copy the amount from line 13d.
                                                                                                                                                           If the marital adjustment does not apply, fill in 0 on line 19a.                                                                                                                     19a.    $__________0

                                                                                                                                                           Subtract line 19a from line 18.                                                                                                                                                                   12,281
                                                                                                                                                                                                                                                                                                                                                        $__________
                                                                                                                                                                                                                                                                                                                                                19b.

                                                                                                                                                      20. Calculate your current monthly income for the year. Follow these steps:

                                                                                                                                                           20a. Copy line 19b.. ............................................................................................................................................................... 20a.          12,281
                                                                                                                                                                                                                                                                                                                                                        $___________

                                                                                                                                                                   Multiply by 12 (the number of months in a year).                                                                                                                                    x 12
                                                                                                                                                           20b. The result is your current monthly income for the year for this part of the form.                                                                                             20b.           147,372
                                                                                                                                                                                                                                                                                                                                                        $___________


                                                                                                                                                           20c. Copy the median family income for your state and size of household from line 16c. ........................................................
                                                                                                                                                                                                                                                                                                                                                              82,904
                                                                                                                                                                                                                                                                                                                                                        $___________

                                                                                                                                                      21. How do the lines compare?

                                                                                                                                                                Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment period is
                                                                                                                                                                3 years. Go to Part 4.
                                                                                                                                                           X    Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
                                                                                                                                                                check box 4, The commitment period is 5 years. Go to Part 4.


                                                                                                                                                       Part 4:           Sign Below

                                                                                                                                                               By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

                                                                                                                                                                         /s/ Mark H. Engen
                                                                                                                                                                    ___________________________________________________                                                    ____________________________________
                                                                                                                                                                                                                                                                                /s/ Maureen E. Engen
                                                                                                                                                                    Signature of Debtor 1                                                                                 Signature of Debtor 2


                                                                                                                                                                           1/24/2015
                                                                                                                                                                   Date _________________                                                                                      1/24/2015
                                                                                                                                                                                                                                                                          Date _________________
                                                                                                                                                                          MM / DD         / YYYY                                                                                   MM / DD        / YYYY



                                                                                                                                                               If you checked 17a, do NOT fill out or file Form 22C–2.
                                                                                                                                                               If you checked 17b, fill out Form 22C–2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




                                                                                                                                                       Official Form 22C–1                         Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                      page 3

                                                                                                                                                                                                        Case 15-20184                            Doc# 1                Filed 02/04/15                        Page 53 of 62
                                                                                                                                                       Fill in this information to identify your case:

                                                                                                                                                       Debtor 1             Mark H. Engen
                                                                                                                                                                         __________________________________________________________________
                                                                                                                                                                           First Name                  Middle Name            Last Name

                                                                                                                                                       Debtor 2
                                                                                                                                                                             Maureen E. Engen
                                                                                                                                                                           ________________________________________________________________
                                                                                                                                                       (Spouse, if filing) First Name                  Middle Name            Last Name


                                                                                                                                                       United States Bankruptcy Court for the: ______________________ District of __________
                                                                                                                                                                                                                                               KS
                                                                                                                                                                                                                                          (State)
                                                                                                                                                       Case number         ___________________________________________
                                                                                                                                                       (If known)
                                                                                                                                                                                                                                                                        Check if this is an amended filing



                                                                                                                                                      Official Form 22C–2
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                                                                                                                                                      Chapter 13 Calculation of Your Disposable Income                                                                                               12/14

                                                                                                                                                      To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly Income and Calculation of
                                                                                                                                                      Commitment Period (Official Form 22C–1).
                                                                                                                                                      Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If
                                                                                                                                                      more space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the
                                                                                                                                                      top of any additional pages, write your name and case number (if known).



                                                                                                                                                      Part 1:          Calculate Your Deductions from Your Income



                                                                                                                                                          The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to
                                                                                                                                                          answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for
                                                                                                                                                          this form. This information may also be available at the bankruptcy clerk’s office.

                                                                                                                                                          Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some
                                                                                                                                                          of your actual expenses if they are higher than the standards. Do not include any operating expenses that you subtracted from
                                                                                                                                                          income in lines 5 and 6 of Form 22C–1, and do not deduct any amounts that you subtracted from your spouse’s income in line 13
                                                                                                                                                          of Form 22C–1.

                                                                                                                                                          If your expenses differ from month to month, enter the average expense.

                                                                                                                                                          Note: Line numbers 1-4 are not used in this form. These numbers apply to information required by a similar form used in chapter 7 cases.




                                                                                                                                                          5.   The number of people used in determining your deductions from income
                                                                                                                                                               Fill in the number of people who could be claimed as exemptions on your federal income tax return,
                                                                                                                                                               plus the number of any additional dependents whom you support. This number may be different
                                                                                                                                                               from the number of people in your household.                                                                            5


                                                                                                                                                           National Standards           You must use the IRS National Standards to answer the questions in lines 6-7.



                                                                                                                                                          6. Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National
                                                                                                                                                                                                                                                                                                     1,780
                                                                                                                                                                                                                                                                                              $________
                                                                                                                                                               Standards, fill in the dollar amount for food, clothing, and other items.



                                                                                                                                                          7. Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards,
                                                                                                                                                               fill in the dollar amount for out-of-
                                                                                                                                                                                                                                                                                s. If your
                                                                                                                                                               actual expenses are higher than this IRS amount, you may deduct the additional amount on line 22.




                                                                                                                                                      Official Form 22C 2                                       Chapter 13 Calculation of Your Disposable Income                                          page 1


                                                                                                                                                                                              Case 15-20184                 Doc# 1            Filed 02/04/15       Page 54 of 62
                                                                                                                                                      Debtor 1         Mark H. Engen
                                                                                                                                                                      _______________________________________________________                                                      Case number (if known)_____________________________________
                                                                                                                                                                      First Name         Middle Name                Last Name




                                                                                                                                                                 People who are under 65 years of age

                                                                                                                                                                                                                                60
                                                                                                                                                                 7a. Out-of-pocket health care allowance per person $______________

                                                                                                                                                                 7b. Number of people who are under 65                                          5
                                                                                                                                                                                                                                           X ______
                                                                                                                                                                                                                                                                         Copy line
                                                                                                                                                                 7c. Subtotal. Multiply line 7a by line 7b.                                          300
                                                                                                                                                                                                                                           $______________
                                                                                                                                                                                                                                                                         7c here
                                                                                                                                                                                                                                                                                                 300
                                                                                                                                                                                                                                                                                        $___________


                                                                                                                                                                  People who are 65 years of age or older

                                                                                                                                                                                                                              144
                                                                                                                                                                 7d. Out-of-pocket health care allowance per person $______________

                                                                                                                                                                 7e. Number of people who are 65 or older                                       0
                                                                                                                                                                                                                                           X ______
                                                                                                                                                                                                                                                                         Copy line
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                                                                                                                                                                 7f. Subtotal. Multiply line 7d by line 7e.                                             0
                                                                                                                                                                                                                                           $______________               7f here
                                                                                                                                                                                                                                                                                       + $__________0
                                                                                                                                                                                                                                                                                                          Copy total
                                                                                                                                                            7g. Total. Add lines 7c and 7f. ........................................................................................             300
                                                                                                                                                                                                                                                                                        $___________                                  300
                                                                                                                                                                                                                                                                                                                                 $________
                                                                                                                                                                                                                                                                                                          here   ......... 7g.


                                                                                                                                                        Local
                                                                                                                                                                               You must use the IRS Local Standards to answer the questions in lines 8-15.
                                                                                                                                                        Standards

                                                                                                                                                        Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for bankruptcy purposes
                                                                                                                                                        into two parts:
                                                                                                                                                            Housing and utilities – Insurance and operating expenses
                                                                                                                                                            Housing and utilities – Mortgage or rent expenses

                                                                                                                                                        To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using the link
                                                                                                                                                        specified in the separate instructions for this form. This chart may also be available at the bankruptcy clerk’s office.

                                                                                                                                                        8. Housing and utilities – Insurance and operating expenses: Using the number of people you entered in line 5, fill in
                                                                                                                                                            the dollar amount listed for your county for insurance and operating expenses.
                                                                                                                                                                                                                                                                                                                                       624
                                                                                                                                                                                                                                                                                                                                 $_______

                                                                                                                                                        9. Housing and utilities – Mortgage or rent expenses:

                                                                                                                                                                 9a. Using the number of people you entered in line 5, fill in the dollar amount
                                                                                                                                                                      listed for your county for mortgage or rent expenses.
                                                                                                                                                                                                                                                                                             1,670
                                                                                                                                                                                                                                                                                       $__________         JOHNSON COUNTY
                                                                                                                                                                 9b. Total average monthly payment for all mortgages and other debts secured by
                                                                                                                                                                      your home.
                                                                                                                                                                      To calculate the total average monthly payment, add all amounts that are
                                                                                                                                                                      contractually due to each secured creditor in the 60 months after you file for
                                                                                                                                                                      bankruptcy. Next divide by 60.

                                                                                                                                                                     Name of the creditor                                                  Average monthly
                                                                                                                                                                                                                                           payment


                                                                                                                                                                     first mortgage house123,720
                                                                                                                                                                  __________________ ____________________                                          2,062
                                                                                                                                                                                                                                            $__________
                                                                                                                                                                  __________________ ____________________                                   $__________

                                                                                                                                                                  __________________ ____________________
                                                                                                                                                                                                                                       +    $__________
                                                                                                                                                                                                                                                                      Copy line
                                                                                                                                                                 9b.Total average monthly payment ........................                         2,062
                                                                                                                                                                                                                                            $__________                                        2,062
                                                                                                                                                                                                                                                                                        $____________
                                                                                                                                                                                                                                                                                                           Repeat this amount
                                                                                                                                                                                                                                                                      9b here                              on line 33a.

                                                                                                                                                            9c. Net mortgage or rent expense.
                                                                                                                                                                 Subtract line 9b (total average monthly payment) from line 9a (mortgage or rent                                       $____________0 Copy 9c here               $________   0
                                                                                                                                                                 expense). If this number is less than $0, enter $0.

                                                                                                                                                        10. If you claim that the U.S. Trustee Program’s division of the IRS Local Standard for housing is incorrect and affects
                                                                                                                                                                                                                                                                                                                                 $________   0
                                                                                                                                                            the calculation of your monthly expenses, fill in any additional amount you claim.
                                                                                                                                                                 Explain why: ________________________________________________________________

                                                                                                                                                                                    ________________________________________________________________



                                                                                                                                                      Official Form 22C 2                                            Chapter 13 Calculation of Your Disposable Income                                                                    page 2


                                                                                                                                                                                                  Case 15-20184                         Doc# 1               Filed 02/04/15                  Page 55 of 62
                                                                                                                                                      Debtor 1         Mark H. Engen
                                                                                                                                                                      _______________________________________________________                               Case number (if known)_____________________________________
                                                                                                                                                                      First Name     Middle Name           Last Name



                                                                                                                                                        11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

                                                                                                                                                                       0. Go to line 14.
                                                                                                                                                                       1. Go to line 12.
                                                                                                                                                                 X     2 or more. Go to line 12.


                                                                                                                                                        12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the operating
                                                                                                                                                            expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                                        624
                                                                                                                                                                                                                                                                                                        $_______


                                                                                                                                                        13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each
                                                                                                                                                            vehicle below. You may not claim the expense if you do not make any loan or lease payments on the vehicle. In addition, you
                                                                                                                                                            may not claim the expense for more than two vehicles.

                                                                                                                                                                                                    Pontiac
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                                                                                                                                                                 Vehicle 1         Describe        _______________________________________________________________________
                                                                                                                                                                                   Vehicle 1:
                                                                                                                                                                                                   _______________________________________________________________________


                                                                                                                                                                 13a. Ownership or leasing costs using IRS Local Standard                                               517
                                                                                                                                                                                                                                                              $____________
                                                                                                                                                                                                                                                   13a.

                                                                                                                                                                 13b. Average monthly payment for all debts secured by Vehicle 1.
                                                                                                                                                                       Do not include costs for leased vehicles.
                                                                                                                                                                       To calculate the average monthly payment here and on line 13e,
                                                                                                                                                                       add all amounts that are contractually due to each secured
                                                                                                                                                                       creditor in the 60 months after you file for bankruptcy. Then
                                                                                                                                                                       divide by 60.

                                                                                                                                                                     Name of each creditor for Vehicle 1               Average monthly
                                                                                                                                                                                                                       payment

                                                                                                                                                                                                                                         Copy13b
                                                                                                                                                                                                                   0
                                                                                                                                                                     _________________________________ $_____________                                         $___________ 0 on line 33b.
                                                                                                                                                                                                                                                                                 Repeat this amount
                                                                                                                                                                                                                                         here




                                                                                                                                                                 13c. Net Vehicle 1 ownership or lease expense                                                                     Copy net Vehicle 1
                                                                                                                                                                       Subtract line 13b from line 13a. If this number is less than $0, enter $0. 13c.        $___________ 0       expense here         $_______0




                                                                                                                                                                 Vehicle 2         Describe         2015 Kia Sorento
                                                                                                                                                                                                   _______________________________________________________________________
                                                                                                                                                                                   Vehicle 2:
                                                                                                                                                                                                   ________________________________________________________________________


                                                                                                                                                                 13d. Ownership or leasing costs using IRS Local Standard                          13d.                 517
                                                                                                                                                                                                                                                              $___________

                                                                                                                                                                 13e. Average monthly payment for all debts secured by Vehicle 2.
                                                                                                                                                                        Do not include costs for leased vehicles.

                                                                                                                                                                     Name of each creditor for Vehicle 2               Average monthly
                                                                                                                                                                                                                       payment


                                                                                                                                                                  KIA  Motors
                                                                                                                                                                  _________________________________                              630
                                                                                                                                                                                                                       $_____________    Copy here                      630
                                                                                                                                                                                                                                                              $___________
                                                                                                                                                                                                                                                                                 Repeat this amount
                                                                                                                                                                                                                                                                            on line 33c.



                                                                                                                                                                 13f. Net Vehicle 2 ownership or lease expense                                                                     Copy net Vehicle 2
                                                                                                                                                                                                                                                              $__________    0                          $_______0
                                                                                                                                                                       Subtract line 13e from 13d. If this number is less than $0, enter $0.         13f.                          expense here



                                                                                                                                                        14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public
                                                                                                                                                            Transportation expense allowance regardless of whether you use public transportation.                                                       $_______0


                                                                                                                                                        15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may also
                                                                                                                                                            deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may not claim
                                                                                                                                                            more than the IRS Local Standard for Public Transportation.                                                                                 $_______0



                                                                                                                                                      Official Form 22C 2                                   Chapter 13 Calculation of Your Disposable Income                                                      page 3


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                                                                                                                                                                        _______________________________________________________                         Case number (if known)_____________________________________
                                                                                                                                                                        First Name   Middle Name         Last Name




                                                                                                                                                        Other Necessary                  In addition to the expense deductions listed above, you are allowed your monthly expenses for the
                                                                                                                                                        Expenses                         following IRS categories.

                                                                                                                                                        16. Taxes: The total monthly amount that you actually pay for federal, state and local taxes, such as income taxes, self-
                                                                                                                                                            employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from
                                                                                                                                                            your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12                                                 2,983
                                                                                                                                                                                                                                                                                                                             $_______
                                                                                                                                                            and subtract that number from the total monthly amount that is withheld to pay for taxes.
                                                                                                                                                            Do not include real estate, sales, or use taxes.

                                                                                                                                                        17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions,
                                                                                                                                                            union dues, and uniform costs.
                                                                                                                                                            Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.                                             $_______0

                                                                                                                                                        18. Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are filing
                                                                                                                                                            together, include payments that you make for your spouse’s term life insurance.
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                                                                                                                                                            Do not include premiums for life insurance on your dependents, for a non-filing spouse’s life insurance, or for any form of life
                                                                                                                                                            insurance other than term.                                                                                                                                       $_______0

                                                                                                                                                        19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative
                                                                                                                                                            agency, such as spousal or child support payments.                                                                                                               $_______0
                                                                                                                                                            Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

                                                                                                                                                        20. Education: The total monthly amount that you pay for education that is either required:
                                                                                                                                                                 as a condition for your job, or                                                                                                                             $_______0
                                                                                                                                                                 for your physically or mentally challenged dependent child if no public education is available for similar services.

                                                                                                                                                        21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
                                                                                                                                                            Do not include payments for any elementary or secondary school education.                                                                                        $_______0
                                                                                                                                                        22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that is
                                                                                                                                                            required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a health
                                                                                                                                                            savings account. Include only the amount that is more than the total entered in line 7.
                                                                                                                                                                                                                                                                                                                             $_______0
                                                                                                                                                            Payments for health insurance or health savings accounts should be listed only in line 25.

                                                                                                                                                        23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services for
                                                                                                                                                            you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell phone
                                                                                                                                                            service, to the extent necessary for your health and welfare or that of your dependents or for the production of income, if it
                                                                                                                                                            is not reimbursed by your employer.                                                                                                                          +        499
                                                                                                                                                                                                                                                                                                                             $________
                                                                                                                                                            Do not include payments for basic home telephone, internet or cell phone service. Do not include self-employment
                                                                                                                                                            expenses, such as those reported on line 5 of Form 22C-1, or any amount you previously deducted.

                                                                                                                                                        24. Add all of the expenses allowed under the IRS expense allowances.                                                                                                    6,810
                                                                                                                                                                                                                                                                                                                             $________
                                                                                                                                                            Add lines 6 through 23.

                                                                                                                                                        Additional Expense                    These are additional deductions allowed by the Means Test.
                                                                                                                                                        Deductions                            Note: Do not include any expense allowances listed in lines 6-24.

                                                                                                                                                        25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
                                                                                                                                                            insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or your
                                                                                                                                                            dependents.
                                                                                                                                                                  Health insurance                                             0
                                                                                                                                                                                                                     $__________

                                                                                                                                                                  Disability insurance                                         0
                                                                                                                                                                                                                     $__________
                                                                                                                                                                  Health savings account                                    0
                                                                                                                                                                                                                 + $__________
                                                                                                                                                                  Total                                                      0
                                                                                                                                                                                                                     $__________     Copy total here   ...............................................................               0
                                                                                                                                                                                                                                                                                                                             $________

                                                                                                                                                                  Do you actually spend this total amount?
                                                                                                                                                                  No. How much do you actually spend?
                                                                                                                                                                                                                 $__________
                                                                                                                                                             X    Yes

                                                                                                                                                        26. Continuing contributions to the care of household or family members. The actual monthly expenses that you will
                                                                                                                                                            continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of your                                     $_______0
                                                                                                                                                            household or member of your immediate family who is unable to pay for such expenses.

                                                                                                                                                        27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the safety of
                                                                                                                                                            you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.                                                      $_______0
                                                                                                                                                            By law, the court must keep the nature of these expenses confidential.

                                                                                                                                                      Official Form 22C 2                                 Chapter 13 Calculation of Your Disposable Income                                                                           page 4


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                                                                                                                                                                      _______________________________________________________                                                          Case number (if known)_____________________________________
                                                                                                                                                                      First Name         Middle Name                Last Name



                                                                                                                                                        28. Additional home energy costs. Your home energy costs are included in your non-mortgage housing and utilities allowance
                                                                                                                                                            on line 8.
                                                                                                                                                            If you believe that you have home energy costs that are more than the home energy costs included in the non-mortgage                                                   $_______0
                                                                                                                                                            housing and utilities allowance, then fill in the excess amount of home energy costs.
                                                                                                                                                            You must give your case trustee documentation of your actual expenses, and you must show that the additional amount
                                                                                                                                                            claimed is reasonable and necessary.

                                                                                                                                                        29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than $156.25*
                                                                                                                                                            per child) that you pay for your dependent children who are younger than 18 years old to attend a private or public                                                         900
                                                                                                                                                                                                                                                                                                                                   $_______
                                                                                                                                                            elementary or secondary school.
                                                                                                                                                            You must give your case trustee documentation of your actual expenses, and you must explain why the amount claimed is
                                                                                                                                                            reasonable and necessary and not already accounted for in lines 6-23.
                                                                                                                                                            * Subject to adjustment on 4/01/16, and every 3 years after that for cases begun on or after the date of adjustment.
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                                                                                                                                                        30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are higher
                                                                                                                                                                                                                                                                                                                                   $_______0
                                                                                                                                                            than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more than 5% of the
                                                                                                                                                            food and clothing allowances in the IRS National Standards.
                                                                                                                                                            To find a chart showing the maximum additional allowance, go online using the link specified in the separate
                                                                                                                                                            instructions for this form. This chart may also be available at the bankruptcy clerk’s office.
                                                                                                                                                            You must show that the additional amount claimed is reasonable and necessary.


                                                                                                                                                        31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
                                                                                                                                                            instruments to a religious or charitable organization. 11 U.S.C. § 548(d)3 and (4).                                                                                + _________0
                                                                                                                                                            Do not include any amount more than 15% of your gross monthly income.

                                                                                                                                                        32. Add all of the additional expense deductions.                                                                                                                              900
                                                                                                                                                                                                                                                                                                                               $___________
                                                                                                                                                            Add lines 25 through 31.


                                                                                                                                                        Deductions for Debt Payment

                                                                                                                                                        33. For debts that are secured by an interest in property that you own, including home mortgages,
                                                                                                                                                            vehicle loans, and other secured debt, fill in lines 33a through 33g.
                                                                                                                                                            To calculate the total average monthly payment, add all amounts that are contractually due to each
                                                                                                                                                            secured creditor in the 60 months after you file for bankruptcy. Then divide by 60.



                                                                                                                                                                                                                                                                                              Average monthly
                                                                                                                                                                                                                                                                                              payment
                                                                                                                                                                 Mortgages on your home
                                                                                                                                                                                                                                                                                                     2,062
                                                                                                                                                                 33a. Copy line 9b here ............................................................................................           $___________

                                                                                                                                                                 Loans on your first two vehicles

                                                                                                                                                                 33b. Copy line 13b here. .........................................................................................
                                                                                                                                                                                                                                                                                                        0
                                                                                                                                                                                                                                                                                               $___________
                                                                                                                                                                                                                                                                                                       630
                                                                                                                                                                 33c. Copy line 13e here. .........................................................................................            $___________

                                                                                                                                                                 Name of each creditor for other                        Identify property that secures                   Does payment
                                                                                                                                                                 secured debt                                           the debt                                         include taxes
                                                                                                                                                                                                                                                                         or insurance?

                                                                                                                                                                        BMO Harris                                       residence                                           X No                   2,061
                                                                                                                                                                                                                                                                                               $___________
                                                                                                                                                                 33d. ____________________________ _____________________________                                                Yes

                                                                                                                                                                        Kia Fiance                                       vehicle                                             X No                     631
                                                                                                                                                                                                                                                                                               $___________
                                                                                                                                                                 33e. ____________________________ _____________________________                                                Yes
                                                                                                                                                                                                                                                                                No                     0
                                                                                                                                                                 33f. _____________________________ _____________________________
                                                                                                                                                                                                                                                                                            + $___________
                                                                                                                                                                                                                                                                                Yes
                                                                                                                                                                                                                                                                                                                  Copy total
                                                                                                                                                                 33g. Total average monthly payment. Add lines 33a through 33f. ......................................                              5,384
                                                                                                                                                                                                                                                                                               $___________                            5,384
                                                                                                                                                                                                                                                                                                                                   $_______
                                                                                                                                                                                                                                                                                                                  here




                                                                                                                                                      Official Form 22C 2                                             Chapter 13 Calculation of Your Disposable Income                                                                       page 5


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                                                                                                                                                                     _______________________________________________________                                              Case number (if known)_____________________________________
                                                                                                                                                                     First Name        Middle Name             Last Name




                                                                                                                                                        34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle, or other property necessary for
                                                                                                                                                            your support or the support of your dependents?


                                                                                                                                                             X   No. Go to line 35.
                                                                                                                                                                 Yes. State any amount that you must pay to a creditor, in addition to the payments listed in line 33, to keep possession of
                                                                                                                                                                      your property (called the cure amount). Next, divide by 60 and fill in the information below.

                                                                                                                                                                        Name of the creditor                   Identify property that               Total cure                      Monthly cure amount
                                                                                                                                                                                                               secures the debt                     amount


                                                                                                                                                                        __________________________             __________________                   $__________         ÷ 60 =      $___________


                                                                                                                                                                        __________________________             __________________                   $__________         ÷ 60 =      $___________
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                                                                                                                                                                        __________________________             __________________                   $__________         ÷ 60 = + $___________
                                                                                                                                                                                                                                                                                                          Copy
                                                                                                                                                                                                                                                                        Total       $___________
                                                                                                                                                                                                                                                                                                    0     total       $_______
                                                                                                                                                                                                                                                                                                                               0
                                                                                                                                                                                                                                                                                                          here


                                                                                                                                                        35. Do you owe any priority claims   such as a priority tax, child support, or alimony                              that are past due as of the
                                                                                                                                                            filing date of your bankruptcy case? 11 U.S.C. § 507.
                                                                                                                                                                 No. Go to line 36.
                                                                                                                                                            X    Yes. Fill in the total amount of all of these priority claims. Do not include current or ongoing
                                                                                                                                                                      priority claims, such as those you listed in line 19.

                                                                                                                                                                        Total amount of all past-due priority claims. .........................................................            26,732
                                                                                                                                                                                                                                                                                    $______________       ÷ 60             445
                                                                                                                                                                                                                                                                                                                      $_______



                                                                                                                                                        36. Projected monthly Chapter 13 plan payment                                                                                       4,000
                                                                                                                                                                                                                                                                                    $______________

                                                                                                                                                            Current multiplier for your district as stated on the list issued by the Administrative Office
                                                                                                                                                            of the United States Courts (for districts in Alabama and North Carolina) or by the
                                                                                                                                                            Executive Office for United States Trustees (for all other districts).
                                                                                                                                                                                                                                                                                  x 7.2
                                                                                                                                                                                                                                                                                    ______
                                                                                                                                                            To find a list of district multipliers that includes your district, go online using the link specified
                                                                                                                                                            in the separate instructions for this form. This list may also be available at the bankruptcy
                                                                                                                                                            clerk’s office.
                                                                                                                                                                                                                                                                                                          Copy
                                                                                                                                                                                                                                                                                              288
                                                                                                                                                                                                                                                                                    $______________       total            288
                                                                                                                                                                                                                                                                                                                      $_______
                                                                                                                                                            Average monthly administrative expense                                                                                                        here


                                                                                                                                                        37. Add all of the deductions for debt payment. Add lines 33g through 36.                                                                                        6,117
                                                                                                                                                                                                                                                                                                                     $_______




                                                                                                                                                        Total Deductions from Income

                                                                                                                                                        38. Add all of the allowed deductions.

                                                                                                                                                           Copy line 24, All of the expenses allowed under IRS expense allowances ........................                                  6,810
                                                                                                                                                                                                                                                                                    $______________
                                                                                                                                                                                                                                                                                                 900
                                                                                                                                                           Copy line 32, All of the additional expense deductions......................................................             $______________

                                                                                                                                                           Copy line 37, All of the deductions for debt payment .........................................................                   6,117
                                                                                                                                                                                                                                                                                  + $______________
                                                                                                                                                                                                                                                                                                          Copy
                                                                                                                                                                                                                                                                                             13,827       total
                                                                                                                                                                                                                                                                                                                         13,827
                                                                                                                                                           Total deductions                                                                                                         $______________                   $_______
                                                                                                                                                                                                                                                                                                          here




                                                                                                                                                      Official Form 22C 2                                        Chapter 13 Calculation of Your Disposable Income                                                                page 6


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                                                                                                                                                                          _______________________________________________________                                                    Case number (if known)_____________________________________
                                                                                                                                                                          First Name      Middle Name           Last Name


                                                                                                                                                      Part 2:       Determine Your Disposable Income Under 11 U.S.C. § 1325(b)(2)

                                                                                                                                                      39. Copy your total current monthly income from line 14 of Form 22C-1, Chapter 13                                                                                              12,281
                                                                                                                                                                                                                                                                                                                                  $_______
                                                                                                                                                          Statement of Your Current Monthly Income and Calculation of Commitment Period. ................................................................ .............
                                                                                                                                                      40. Fill in any reasonably necessary income you receive for support for dependent children.
                                                                                                                                                          The monthly average of any child support payments, foster care payments, or disability
                                                                                                                                                          payments for a dependent child, reported in Part I of Form 22C-1, that you received in                                                          0
                                                                                                                                                                                                                                                                                               $____________
                                                                                                                                                          accordance with applicable nonbankruptcy law to the extent reasonably necessary to be
                                                                                                                                                          expended for such child.

                                                                                                                                                      41. Fill in all qualified retirement deductions. The monthly total of all amounts that your
                                                                                                                                                          employer withheld from wages as contributions for qualified retirement plans, as specified
                                                                                                                                                                                                                                                                                               $____________
                                                                                                                                                                                                                                                                                                            0
                                                                                                                                                          in 11 U.S.C. § 541(b)(7) plus all required repayments of loans from retirement plans, as
                                                                                                                                                          specified in 11 U.S.C. § 362(b)(19).
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                                                                                                                                                      42. Total of all deductions allowed under 11 U.S.C. § 707(b)(2)(A). Copy line 38 here ..................                                      13,827
                                                                                                                                                                                                                                                                                               $____________


                                                                                                                                                      43. Deduction for special circumstances. If special circumstances justify additional expenses
                                                                                                                                                          and you have no reasonable alternative, describe the special circumstances and their
                                                                                                                                                          expenses. You must give your case trustee a detailed explanation of the special
                                                                                                                                                          circumstances and documentation for the expenses.

                                                                                                                                                           Describe the special circumstances                                                     Amount of expense

                                                                                                                                                           43a. ______________________________________________________                               $___________

                                                                                                                                                           43b. ______________________________________________________
                                                                                                                                                                                                                                                     $___________
                                                                                                                                                           43c. ______________________________________________________                           + $___________
                                                                                                                                                                                                                                                                                Copy 43d
                                                                                                                                                           43d.Total. Add lines 43a through 43c .....................................
                                                                                                                                                                                                                                                              0
                                                                                                                                                                                                                                                     $___________               here
                                                                                                                                                                                                                                                                                                          0
                                                                                                                                                                                                                                                                                             + $_____________

                                                                                                                                                                                                                                                                                                                 Copy total
                                                                                                                                                      44. Total adjustments. Add lines 40                   43d. .....................................................................              13,827
                                                                                                                                                                                                                                                                                               $_____________                 –       13,827
                                                                                                                                                                                                                                                                                                                                  $______
                                                                                                                                                                                                                                                                                                                 here




                                                                                                                                                                                                                                                                                                                                     -1,546
                                                                                                                                                      45. Calculate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39.                                                                             $_______




                                                                                                                                                        Part 3:            Change in Income or Expenses


                                                                                                                                                       46. Change in income or expenses. If the income in Form 22C-1 or the expenses you reported in this form
                                                                                                                                                           have changed or are virtually certain to change after the date you filed your bankruptcy petition and during
                                                                                                                                                           the time your case will be open, fill in the information below. For example, if the wages reported increased
                                                                                                                                                           after you filed your petition, check 22C-1 in the first column, enter line 2 in the second column, explain why
                                                                                                                                                           the wages increased, fill in when the increase occurred, and fill in the amount of the increase.

                                                                                                                                                            Form                   Line     Reason for change                                             Date of change                 Increase or     Amount of change
                                                                                                                                                                                                                                                                                         decrease?

                                                                                                                                                                  22C                                                                                                                      Increase
                                                                                                                                                                                   ____     __________________ _____________                             ____________                                   $____________
                                                                                                                                                                  22C 2                                                                                                                    Decrease

                                                                                                                                                                  22C                                                                                                                      Increase
                                                                                                                                                                                   ____     __________________ _____________                             ____________                                   $____________
                                                                                                                                                                  22C 2                                                                                                                    Decrease


                                                                                                                                                                  22C                                                                                                                      Increase
                                                                                                                                                                                   ____     __________________ _____________                             ____________                                   $____________
                                                                                                                                                                  22C 2                                                                                                                    Decrease


                                                                                                                                                                  22C                                                                                                                      Increase
                                                                                                                                                                                   ____     __________________ _____________                             ____________                                   $____________
                                                                                                                                                                  22C 2                                                                                                                    Decrease




                                                                                                                                                       Official Form 22C 2                                        Chapter 13 Calculation of Your Disposable Income                                                                           page 7


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                                                                                                                                                      Debtor 1        Mark H. Engen
                                                                                                                                                                     _______________________________________________________                          Case number (if known)_____________________________________
                                                                                                                                                                     First Name            Middle Name   Last Name




                                                                                                                                                      Part 4:          Sign Below




                                                                                                                                                      By signing here, under penalty of perjury you declare that the information on this statement and in any attachments is true and correct.


                                                                                                                                                                   /s/ Mark H. Engen
                                                                                                                                                          ___________________________________________________                              /s/ Maureen E. Engen
                                                                                                                                                                                                                                   __________________________________
                                                                                                                                                          Signature of Debtor 1                                                    Signature of Debtor 2


                                                                                                                                                                   1/24/2015
                                                                                                                                                          Date _________________                                                             1/24/2015
                                                                                                                                                                                                                                   Date _________________
                                                                                                                                                                 MM / DD          / YYYY                                                MM / DD      / YYYY
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                                                                                                                                                      Official Form 22C 2                                 Chapter 13 Calculation of Your Disposable Income                                                  page 8


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                                                                                                                                                      Debtor 1          Mark H. Engen                                      Case Number (if known)
                                                                                                                                                                 First Name   Middle Name     Last Name

                                                                                                                                                      Form 22 Continuation Sheet
                                                                                                                                                      Monthly Income

                                                                                                                                                           Month 1                                                         Month 2
                                                                                                                                                           Gross wages, salary, tips...                   5,200   7,040    Gross wages, salary, tips...         5,200   7,040
                                                                                                                                                           Income from business...                            0       0    Income from business...                  0       0
                                                                                                                                                           Rents and real property income...                  0       0    Rents and real property income...        0       0
                                                                                                                                                           Interest, dividends...                             0       0    Interest, dividends...                   0       0
                                                                                                                                                           Pension, retirement...                             0       0    Pension, retirement...                   0       0
                                                                                                                                                           Contributions to HH Exp...                         0       0    Contributions to HH Exp...               0       0
                                                                                                                                                           Unemployment...                                    0       0    Unemployment...                          0       0
                                                                                                                                                           Other Income...                                    0      41    Other Income...                          0      41
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                                                                                                                                                           Month 3                                                         Month 4
                                                                                                                                                           Gross wages, salary, tips...                   5,200   7,040    Gross wages, salary, tips...         5,200   7,040
                                                                                                                                                           Income from business...                            0       0    Income from business...                  0       0
                                                                                                                                                           Rents and real property income...                  0       0    Rents and real property income...        0       0
                                                                                                                                                           Interest, dividends...                             0       0    Interest, dividends...                   0       0
                                                                                                                                                           Pension, retirement...                             0       0    Pension, retirement...                   0       0
                                                                                                                                                           Contributions to HH Exp...                         0       0    Contributions to HH Exp...               0       0
                                                                                                                                                           Unemployment...                                    0       0    Unemployment...                          0       0
                                                                                                                                                           Other Income...                                    0      41    Other Income...                          0      41
                                                                                                                                                           Month 5                                                         Month 6
                                                                                                                                                           Gross wages, salary, tips...                   5,200   7,040    Gross wages, salary, tips...         5,200   7,040
                                                                                                                                                           Income from business...                            0       0    Income from business...                  0       0
                                                                                                                                                           Rents and real property income...                  0       0    Rents and real property income...        0       0
                                                                                                                                                           Interest, dividends...                             0       0    Interest, dividends...                   0       0
                                                                                                                                                           Pension, retirement...                             0       0    Pension, retirement...                   0       0
                                                                                                                                                           Contributions to HH Exp...                         0       0    Contributions to HH Exp...               0       0
                                                                                                                                                           Unemployment...                                    0       0    Unemployment...                          0       0
                                                                                                                                                           Other Income...                                    0      41    Other Income...                          0      41




                                                                                                                                                      Additional Items as Designated, if any




                                                                                                                                                      Remarks




                                                                                                                                                                                            Case 15-20184     Doc# 1      Filed 02/04/15        Page 62 of 62
